Case: 13-99001, 04/13/2017, ID: 10395709, DktEntry: 52, Page 1 of 100




                           No. 13-99001

      IN THE UNITED STATES COURT OF APPEALS
              FOR THE NINTH CIRCUIT




                   JOHN EDWARD SANSING,

                       Petitioner-Appellant,

                                 vs.

                 CHARLES L. RYAN, Director,
             Arizona Department of Corrections, et al.,

                      Respondents-Appellees.


          On Appeal from the United States District Court
                     for the District of State
                 Case No. 2:11-cv-01035-SRB


PETITIONER’S SUPPLEMENTAL EXCERPTS OF RECORD

             VOLUME 1: PSER 1 through PSER 98


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      Case: 13-99001, 04/13/2017, ID: 10395709, DktEntry: 52, Page 2 of 100




                   Petitioner-Appellant John Edward Sansing
                        Supplemental Excerpts of Record


Volume 1 (PSER 1 – PSER 98 ):

PSER 1     Declaration of Joshua Edward Sansing, filed as Exhibit C to Motion
           for Evidentiary Development, filed February 24, 2012 (Dist. Ct. ECF
           No. 53-2)

PSER 3     Marriage Certificates, Divorce Decrees, and Separation Agreement
           regarding John Sansing’s mother, Glenda, filed as Exhibit E to Motion
           for Evidentiary Development, filed February 24, 2012 (Dist. Ct. ECF
           No. 53-3)

PSER 24    Crime Report of Child Neglect from Sparks Police Department, filed
           as Exhibit F to Motion for Evidentiary Development, filed February
           24, 2012 (Dist. Ct. ECF No. 53-4)

PSER 33    Declaration of Dr. Shalene M. Kirkley, filed as Exhibit M to Motion
           for Evidentiary Development, filed February 24, 2012 (Dist. Ct. ECF
           No. 53-5)

PSER 34    Report by Dr. Robert Heilbronner, filed as Exhibit N to Motion for
           Evidentiary Development, filed February 24, 2012 (Dist. Ct. ECF No.
           53-5)

PSER 47    Phoenix Police Department Report No. 80384200, filed as Exhibit O
           to Motion for Evidentiary Development, filed February 24, 2012
           (Dist. Ct. ECF No. 53-5)

PSER 51    State’s Reply to Defendant’s Sentencing Memorandum, filed
           September 23, 1999 (Trial Docket 98)

PSER 67    State’s Sentencing Memorandum Re: Death Penalty, filed September
           3, 1999 (Trial Docket 96)
    Case:
   Case   13-99001, 04/13/2017,
        2:11-cv-01035-SRB       ID: 10395709,
                            Document          DktEntry:
                                       53-2 Filed       52, Page
                                                  02/24/12   Page3 33
                                                                   of 100
                                                                      of 56




                     DECLARATION OF JOSHUA EDWARD SANSING

I declare under penalty of perjury the following to be true and accurate to the best of my
information and belief:

1.1 am the oldest son of John and Kara Sansing. I was present on February 24, 1998, when Trudy
Calabrese was killed. I was 12 years old.

2. The months before the crime, my parents began using drugs more and more. They were selling
off eveiything we owned in order to get more drugs.

3. My father generally stole things in order to buy drugs. He used to steal purses. But I had never
seen my father assault a stranger in order to rob them before this crime occurred on February 24,
1998.

4. Before Mrs. Calabrese arrived at our house, I never heard any mention of a plan to harm Mrs.
Calabrese.

 5. On the day of the crime, before Mrs. Calabrese arrived, my dad had been smoking crack.

 6. When Mrs. Calabrese arrived, my siblings and I went outside to see if her purse was in her
 truck. Once we realized her truck was locked, we came back in the house and told my father.
 Shortly thereafter, my father attacked Mrs. Calabrese. What actually happened to Mrs. Calabrese
 was never discussed before she arrived, and when it began it was shocking.

  7.1 tried to protect my three younger siblings by taking them into the living room. Unlike the rest.
-' of my siblings, I watched the entire attack on Mrs. Calabrese up until the point that she was taken
  into my parents' bedroom, and parts of it after that.

 8. My dad tackled Mrs. Calabrese and threw her on the floor. She was then tied up. She asked
 us to call 9-1-1. Within moments, she was struck on the head and knocked unconscious. A sock
 was put in her mouth while she was on our dining room floor. I did not see her conscious again
 or hear her speak again.

 9. My father then went to move Mrs. Calabrese's truck. After he returned, Mrs. Calabrese was
 moved into my parents' bedroom. She was still unconscious.

 10. There was a closet that had a vent into my parents' bedroom. I went into that closet and
 looked through the vent into the bedroom. I could see that Mrs. Calabrese's chest was moving up
 and down, so I assumed she was still breathing, but I did not hear her speak.

 11. After Mrs. Calabrese was moved to the bedroom, my parents called their drug dealer to buy
 more crack cocaine. The drug dealer came to our house and my parents obtained more crack
 cocaine, then sent us kids into our bedrooms while they smoked the drug.




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  Case   13-99001, 04/13/2017,
       2:11-cv-01035-SRB       ID: 10395709,
                           Document          DktEntry:
                                      53-2 Filed       52, Page
                                                 02/24/12   Page4 34
                                                                  of 100
                                                                     of 56




12. Some time after my parents had bought and smoked the crack cocaine, while I was in my
bedroom, I heard my mother screaming at my father because he was in the bedroom having sex
with Mrs. Calabrese. I do not recall the exact time but I remember that it was night time. It was
dark outside when my mother began screaming.

13. Well more than an hour elapsed between the time that Mrs. Calabrese was hit in the head in
the dining room and the time I heard my mother shouting at my father over the sexual assault.

14. Nobody from my father's defense team has ever interviewed me about what happened that
night.

I declare the foregoing to be true and accurate to the best of my information and belief.
Signed this | ° | day of October, 2011, at Phoenix Arizona.




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                   Case:2:11-cv-01035-SRB
                   Case  13-99001, 04/13/2017, ID: 10395709,
                                            Document         DktEntry:
                                                       53-3 Filed      52, Page
                                                                  02/24/12  Page5 of 100
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              Case  13-99001, 04/13/2017, ID: 10395709,
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                                                                02/24/12  Page8 of 100
                                                                                5 of 22

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Case  13-99001, 04/13/2017, ID: 10395709,
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              Case  13-99001, 04/13/2017, ID: 10395709,
                                       Document   53-3 DktEntry:  52, Page
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                                                          Page        22
                                                                           PSER 10
                   Case:2:11-cv-01035-SRB
                   Case  13-99001, 04/13/2017, ID: 10395709,
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              Case  13-99001, 04/13/2017, ID: 10395709,
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Statistics, Alabama Department of Public Health, Montgomery, Alabama. -2011^357-576-8


August.51, 2011.                                                                                                                   Catherine Molchan Donald
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                      Case:2:11-cv-01035-SRB
                      Case  13-99001, 04/13/2017, ID: 10395709,
                                               Document         DktEntry:
                                                         53-3 Filed       52, Page
                                                                    02/24/12   Page1916
                                                                                      of of
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                      STATE OF ALABAMA
                                                            SEPARATION AGREPMENT
                      CULLMAN COUNTY

                           THIS AGREEMENT, made and entered into this the 10th day of
                      April, 1979, by and between GLENDA SUE SKINNER DOOLEY AND
                      ROY CHARLES DOOLEY,


                                            W I T N E S S E T H

                           WHEREAS, the parties are now husband and wife, differences
                      have arisen between the said husband and wife and they have
                      heretofore ceased to live together, and irreconclliable
                      differences have arisen which make It imnossible for them
                      hereafter to live together AS husband and wife, and
                           WHEREAS, the parties have agreed between themselves
                      on a final settlement In references to property rights,
                      rights of the minor child, and of the other differences existing
                      between them; and for the purpose of settling all their differencei
                      and In consideration of the mutual agreements hereinafter made
                      they agree as follows:
                           I.   That during the marriage, there was one child born,
                     {naa.ly:   l.ORITTA LYNN DOOLEY, born August 20, 1979. and that
                     j;thf plaintiff, fiU'NDA SUr SKINNER DOOI...Y, Is the nroper person
                     Ijto have thr iar«% custody and control of said minor child.
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        Case  13-99001, 04/13/2017, ID: 10395709,
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            2. j That ROY CHARLES DOOLEY agrees to support the child
       for a period of two years, said support being twenty ($20.00)
       Dollars per week for the first forty-eight (48) weeks, and the
       sum of Ten ($10.00) Dollars per week for the next fifty-eight
       (S8) weeks, and it is agreed that there will be no further
       support after this period of time. Said payments shall be made
       through   a Clerk of the Circuit Court.
            rt is further agreed that the payment of said support
       by Defendant is not an admission by Defendant that he is the
       father of the child.
                                                                              4
            IT IS AGREED between the parties that no further support for
       the minor child is necessary after the above enuaerated period due
       to the fact that the Plaintiff has cared for and maintained the
       minor child since her birth and that she feels and knows that she
       is capable of caring for and supporting the child without support
       from Roy Charles Dooley.     Roy Charles Dooley wishes to contribute
       the amount of support as stated herein, however, due to his
       financial condition, he is unable to contribute any support other
       than as herein agreed.     Both parties feel that the support as
       agreed upon will be adequate and that Rov Charles Dooley is
       willing and able to contribute the above stated amount as suonort
       for said child.     CLENDA SUE SKINNER DOOLEY fe#ls that after this
       period of time of additional support from Itoy Charles Dooley,
       shf will be capable of supporting said child.
            11 IS A<ih.:nt between the parties that ROY CHAUfiS hoOLEY will
       have no visitation rights with said nlnor child, that he does
       not feel any love    nor affection for said child and does not wish
       to have visitation rights with said child.




                                          PSER 18
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                   Case:2:11-cv-01035-SRB
                   Case  13-99001, 04/13/2017, ID: 10395709,
                                            Document         DktEntry:
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                         3.    The parties hereby agree that each party shall have
                   their own personal belongins, including, but not limited to,
                   clothing, personal papers and documents, ancestral pictures
                   and belongings respectively,


                         IN THE EVENT A divorce is granted to one of the parties hereto
                   this agreement is intended its a full and complete settlement
                   of all property rights between the husband and wife, and from
                   this time forward neither party shall have any interest
                   of any kind or nature In or to any real, personal or mixed
                   property of the other party to this agreement not sneclfically
              i| set out herein.       In the event a divorce is hereafter granted the
                   parties hereto request the court to ratify and confirm this
                   agreement and make the same a part of any final Judgment entered
                   by the court.

                         THIS AGREEMENT entered into between (IlTNnA SUE SKINNER
                   DO01.IY AND ROY CHAKU'S ftOnil'V, on this the loth day of April.




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       Case  13-99001, 04/13/2017, ID: 10395709,
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     GLENDA SUE SKINNER DOOLEY,
                PLAINTIFF,
     VS.                               IN THE CIRCUIT COURT OF
                                       CULLMAN COUNTY, ALABAMA

     ROY CHARLES DOOLEY,               CIVIL ACTION NO. DR-78-57S

                 DEFENDANT.


                       AMENDED ANSWER AND COUNTER CLAIM

           Coaes now the Defendant, Roy Charles Dooley and with
     leave of the Court first had, files this his aaended answer
     and Counter-Claia:
           As to paragraph 2, of Plaintiff's Coaplaint, Defendant
     alleges that he is not physically capable of fathering either
     Plaintiff's child or any child, and that this condition of
     sterility has existed for a period of tiae coaaencing at
     least in Septeaber 1977$ and that this condition is the result
     of a long standing testicular atrophy,
           That Defendant during the tiae the parties had been
     aarrled, has provided Plaintiff with sufficient funds to pay
      household and other necessary expenses of the marriage and that
      there are no debts for which Defendant should be responsible.




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                 Case  13-99001, 04/13/2017, ID: 10395709,
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                    Further, the Defendant, by way of Cross-Claim, avers and
             alleges that Plaintiff has been guilty of adultery with a
             person or persons whose names to the Defendant are unknown.
                   Wherefore, the premises considered, the Defendant prays
             that this Honorable Court will, upon a final hearing and proof
             order and adjudge the following:

                  (a) That the Defendant be granted a Divorce from the
             Plaintiff,

                    (b)   That the Defendant is not the father of Plaintiff's
             child born on or about August 1978, and that Defendant has
             no financial responsibility or obligation to said child.
                  (c) That the Defendant is not responsible for any debts
         1
             Incurred by Plaintiff.
                   Signed at Cullman, Alabama this
                                                       ,.~A*
                                                       C       day of April, 1979.




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                                   to the Attorney for Plaintiff.
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             Williams, at his regular mailing address.     ,n ,It
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             Signed at Cullman, Alabama, t h i s   A   day of April 197*1.


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           i SLICING GLASS DOOR                       13 D COLLECT-OTHE                              27   C!   SUSPECT ARME&                          3 D SENIOR CITIZEN
           1 BASEMN.                                  14 D CONSTR. TOOLS'HAT'S                       28   D    THREATENED RETALIATION                 4 d 8UND -
           I ROOF                                     15 D AUTO PARTS                                29   0    TOOK ONLY CONSUMABLE                   5 Q HANDICAPPED
           I FLOOR                                          SAFE
                                                       16 •                                          30   D    TOOK VIC'S VEHICLE                     6 Q DEAF
           I WALL                                     17     a   VALUE UNO S 5 0 _                   31   D    TORTURED           \                   7 Q MUTE
           I DUCT'VENT                                18     a   VALUES50-S200 _                     32   Q    UNDER INFLUENCE DRUG                   6 0 MENT/EMOT IMPAIRED
           I GARAGE                                   19     D   VALUE O V R S 2 0 0 -               33   D    USED DEMAND N O T E \                 99.A.OTHER AAlUKfn.
           I ADJ BUILDING                             99     a   OTHER                               34   0    USED LOOKOUT                                                                              TOTALS
           I GROUNDLEVEL                                                                             35   O    USED DRIVER
           i UPPER LEVEL                                                                             38   D    USED MATCH/CANDLE '                   REL'SHIP-VICTOSUSP                            14
           I FENCE                                    3EX C R I M E S O N L Y                   08                                                                                                           T O T A L DAMAGE AMOUNT
                                                                                                     37   a    USED VICTIM'S NAME                      1    D    HUSBAND
           I UNKNOWN                                                                                 38   D    USED SUITCASE/PILLOW.
                                                                 SUSPECT CLIMAXED                                                                      2   D     WIFE
      JETHOO OF ENTRY                            OS     2    I V U N K N O W N IF CLIMAXED           39   D    USED VICTIM'S TOOLS                     3   IC    MOTHER
                                                        3    P \ « £ T I M BOUND, TIED               40   D    VEH NEEDED TO REMOVE \                  4    D    FATHER
           I^NO FORCE USED                              4    • COVERED VICTIM FACE                   41   D    CUT/DISCONN PHONE                       5    D    DAUGHTER
      2   DffKTEMPTONLY                                 5    D PHOTOGRAPHED VICTIM                   42   D    CASED LOC BEFORE                        6     •   SON
      3   D BOOtiy FORCE                                6    • VICORALCOPULSUSP                      99   0    OTHER                                   7   D     BROTHER    •
      A   0 BOLTCBPPUERS                                7    o S U S P O R X C O P U L VICT                                                            8   D     SISTER
      5   n CHNLLOCR>WCE GRIPS                          8    D RAPE BY INSTRUMENT                                                                      9    a    OTHER FAMILY
                                                        9    D SODOMY                                                                                 10   D     ACQUAINTANCE
      6   D PIPEWRENCH>
      7   a SAW/DRILL'BURN^
                                                       10    C SUGGVICTOLEtoACT                       1   O C O N D U C T I N G SURVEY                11 d       FRIEND
                                                       11    D INSERT FINGER'VASllNA    NA            2   D COSJVCUENT                                12    •    BOYFRIEND
      8   a PUNCH                                      12    D FORCED VIC'FONDL0.SU     SSU           3   D DELIVSRYPERSON                            13   D     GIRLFRIEND
      9   0 SCREWDRIVER                                13    D SUSP FONDLED VICTIIIMv                 4   0 DISABLEDStOTORIST                         14    •    NEIGHBOR
     10   a TIRE IRON                                  14    D MASTURBATED SELF                       5   D DRUNK                                     15   D     BUSINESS ASSOCIATE




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                   Case:2:11-cv-01035-SRB
                   Case  13-99001, 04/13/2017, ID: 10395709,
                                            Document   53-4 DktEntry:  52, Page
                                                             Filed 02/24/12     28 4ofof100
                                                                             Page        45




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               Case:2:11-cv-01035-SRB
               Case  13-99001, 04/13/2017, ID: 10395709,
                                        Document   53-4 DktEntry:  52, Page
                                                         Filed 02/24/12     29 5ofof100
                                                                         Page        45




    hr
f          '               t       SPARKS'POLICE DEPARTMENT      '' / '              - < ,'' *
[              *          '    'Supplemental Or Continuation"Report
|                                               '   i      I         --                    J   .
I    Type.of Report! CHILD NEGLECT                                        Case #: 89-11100
!     '
i    Date of Reports 9-9-89                             Officers JOHNSON 082$
     Victims City of Sparks                             Locations 135 E. P r a t e r Way #H
     Date/Time of Supplements 9-9-89 1558 h r s                                       ,
     Approving Syx^rv^orS^<J/^Afild           <=0?p/           _           D a tes   ^-/i?r£?>           "'

     Victims
     DOOLEY, Loretta Lynn, WF, 11 yrs, DOB «£__)£&& Addresss 135 E. Prater Way #H,
     no phone, Student at Lincoln Park Elementary School.
     Suspects
    BAKER, Glenda Sue, WF, DOB —    ^    46 yrs, 504, 170, blk, bro,
    SS#4_HM_____Hgt -Address: 135 E. Prater Way #H, Employed by Silver Club, 1040
    B St., as Change, day shift.
    SuspectCs. statements
    BAKER made a verbal statement that she does legtve the child home and she. felt
    that the child was old enough to take care of herself and that she cannot
    afford a baby sitter for the child and she is struggling to maintain a house
    hold. She made the verbal statement that she was trying to save money to go
    back to Alabama and leave the child in Alabama with her other two children.
    Officers Involved And Assignments
    Officer JOHNSON assigned original case. Officer SCHRIBER cover officer.
    witnessess
                                                                                      o
    #1 Anonymous. The original call on this case was not identified and called
    Sparks dispatch anonymously.
    #2 SMITH, Terega Marie,,_WF, DOB 12-30-70, Addresss 105 E Prater Way #G,
    356-2063, ss^gUggBBffa     unemployed. Can testify to seeing DOOLEY walking
    around the apartment complex alone and unsupervised and can testify to this
    happening on several occasions. SMITH can testify to offering her assistance
    as a baby sitter for a fee to BAKER, however BAKER has never taken her up on
    the offer.

     #3 BARAJAS, Tracy Lynn, DOB ^ f ^ ^ P , Addresss 113 E. Prater Way #D, 359-5264;,
    SSpflM_______B. Works at UNR Wolf Club and Lawlor Events, 784-4870. Cart
    itestify to seeing DOOLEY outside from approximately 10s3 0 a.m. and walking,
    around where she ascertained if someone was baby sitting her and she tbU#%ei..:•
    that her mom was sleeping. She stated that she then fed the child a          «
    hamburger and coke because the child appeared to be hungry.          '«*>?& \
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         Case:2:11-cv-01035-SRB
         Case  13-99001, 04/13/2017, ID: 10395709,
                                  Document   53-4 DktEntry:  52, Page
                                                   Filed 02/24/12     30 6ofof100
                                                                   Page        45




» OfJ.icers,J JOHNSON 0826                                    Case #1^89-11100^-.
 Superyisor Approving:_             ffluA Mi
 Weapons-Force Osed And/Olr List of Items ana Loss;.
 None,
 Means of Entry Rnd/Qr Exits
                                                                               !.1K
 N/A
                                                                 ^ \ ^
                                                                         1>^
 Extent Of Injuries And Treatments
 No injuries sustained, no treatment given.                                   111*
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 No evidence taken.
 Brief synopsis Of Offenses
 Juvenile was left at her residence unattended for an 8 hour period, where the
 child states she had noodles and mash potatoes for lunch and that her sister
 had cooked them for her. However upon questioning the child, she stated she
 does not have a sister. After investigation, child was placed into welfare
 and case forwarded to welfare division.
 Additional Informations
 I made contact with Carol DUNN of the Washoe County Social Services Division
 at 1730 hrs, where she advised the child be placed into social services.
 Details Of Offenses
 Upon todays date, I was dispatched along with Officer SCHRIBER to 135 E.
 Prater Way #H on a complaint of an 8 yr old who had been left alone and
 abandoned all day. Upon arrival, I went to apartment H, knocked on the door
 and found no one to be home. A little girl from across the breeze way
 stated, "My mom is not home". I noticed that the child was sitting with
 other adults and juveniles in an area where there was a yard sale in the
 complex and I asked the child to, come over to me.
I asked her what her name was and she stated her name was Loretta. After
identifying the child as being the one that lives in the particular apartment
#H, I asked her where her mom was and she stated her mother was at work, but
that she was there with a baby sitter and that the baby sitter had gone to
the store for a minute. I asked her what the baby sitter's name was and she
stated"that,she did not know. I asked her how old she was and she stated she
was 11 yrs old, however the child appeared to be a lot younger than 11. I
asked the child if she had eaten, she stated she had some mash potatoes arid
noodles and stated that her big sister had made it for her. I asked the
child where her sister was, she stated she was not there.
As I was talking with the juvenile, other adults in the complex came d.^er to ,,«
me and stated that they had been concerned also about the child's wel;fa*^ -afi4!;



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                                      PSER 28
Case:2:11-cv-01035-SRB
Case  13-99001, 04/13/2017, ID: 10395709,
                         Document   53-4 DktEntry:  52, Page
                                          Filed 02/24/12     31 7ofof100
                                                          Page        45


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Officers JOHNSON 0826                                            Case # | o , 8 f e l ^
Supervisor Approving;                        __^___              Date; A^fC


several of the adults made verbal statements that the child ,had been     ,
physically been abused, however I did not notice any bruises on/the-child
they would not elaborate on this and no statements were obtained; froup,the
subjects. However, several subjects did state that the child had been ou
and about on several occasions and alone and that one parent stated that
when she fed her children, the child DOOLEY would come around land eat the
scraps left over by these kids and this had happened on more, that one
occasion.
As I was talking to the child, she stated she did not want to go to welfa
because the last time, her principal was real mean to her. I asked her h
was he mean to her, she stated that he thought she had lice and she state
that this happened in Alabama. Officer note the child was clean and did
appeared to be in any physical danger at this time. Upon further
investigation, it was revealed that I had made contact with this j ^ ^ i O ^
and her mother in the past and at this time it was an unstable cohd/ititjn_j
where the child had placed a prophylactic on her thumb where the rubber £
gotten too tight and stopped the circulation of the blood and that she;
thought she was shrinking. At that time, I made contact with her mother
the mother was complaining of not being able to take care of the child ar,
having a hard time with her, however she was with a friend at that tame i
the friend was helping to take care of her.

Upon todays date, there was no adult supervision and the child finally
admitted that she was home alone. She asked if she was going to be taker
away to welfare again and I told I did not know at this time. I made o£i
with Sgt MORROW and I transported the child to SPD, where I requested the
mother be contacted at work. Upon dispatch made contact with the Silver
Club, I was advised that the mother had left for the day at 1630 hrs and
gone home. After my arrival at the station, Officer SCHRIBER picked up t
mother and transported her to. SPD.
I met with the mother BAKER and was advised by her that she does leave tl
child at the residence, she felt that the child is 11 yrs and could take
of herself and that she could not afford a baby sitter and she did assure
that there was food in the residence. I asked DOOIiEY about her sister ai
that she stated that she did not have a sister. I asked her who fed her
mash potatoes and noodles and she stated it was a friend of hers mother .
that friends name was Connie.
After talking to the mother and determining that the mother could not
physically take care of the child, I then made contact with Social Servii
and talked to Carol DUNN at 1730 hrs. After explaining the situation to
DUNN, she suggested that the child be placed into a foster home temp^r^r:
until investigation can be completed by Social Services. I advised BAKE]
this and the child was transported to a foster home. No furthf



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Case:2:11-cv-01035-SRB
Case  13-99001, 04/13/2017, ID: 10395709,
                         Document   53-4 DktEntry:  52, Page
                                          Filed 02/24/12     32 8ofof100
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                   Case:2:11-cv-01035-SRB
                   Case  13-99001, 04/13/2017, ID: 10395709,
                                            Document   53-4 DktEntry:  52, Page
                                                             Filed 02/24/12     33 9ofof100
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                 Case:2:11-cv-01035-SRB
                 Case  13-99001, 04/13/2017, ID: 10395709,
                                          Document         DktEntry:
                                                     53-4 Filed      52, Page
                                                                02/24/12  Page3410
                                                                                 of of
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 Case:
Case    13-99001, 04/13/2017,
     2:11-cv-01035-SRB        ID: 10395709,
                          Document          DktEntry:
                                     53-5 Filed       52, Page
                                                02/24/12  Page35 of of
                                                               114  100133




                  DECLARATION OF SHALENE M. KIRKLEY, PH.D.

I declare under penalty of perjury the following to be true and accurate to the best of my
information and belief:

   1. I am a clinical psychologist, licensed to practice in Arizona.

   2. In February 2009,1 was working for Dr. M Brad Bayless when he interviewed and
      evaluated John Sansing. I was completing my post-doctorate residency at the time.

   3. I was present during Dr. Bayless' clinical interview of John Sansing on Feb. 10,2009,
      and during Dr. Bayless' deposition on Sept. 10,2009.

   4. I recall Dr. Bayless testifying at this deposition that Sansing had told us he raped the
      victim because her skirt flew up, exposing her vaginal area. I do not recall Sansing ever
      saying that the victim was wearing a skirt or a dress, or that it flew up, exposing her
      vaginal area.

    5. When I heard Dr. Bayless make the statement about the skirt and the defense attorney
       mention on cross that the victim was wearing pants, I remember being surprised and
       embarrassed, because that was a big misstatement for my supvervisor to make.

    6. No one from Sansing's defense team has interviewed me prior to now. If anyone had
       contacted me, I would have been willing to sign this declaration.

I declare the foregoing to be true and accurate to the best of my information and belief.
Signed this 17th day of November, 2011, at Phoenix, Arizona.




                                       PSER 33
        Case:
       Case    13-99001, 04/13/2017,
            2:11-cv-01035-SRB        ID: 10395709,
                                 Document          DktEntry:
                                            53-5 Filed       52, Page
                                                       02/24/12  Page36 of of
                                                                      116  100133




                                    Chicago Neuropsychology Group
                                         333 N. Michigan Ave, Suite 1801
                                              Chicago, Illinois 60601
                                              Phone:312-345-0933
                                             Facsimile: 312-345-0934
                                        www.chicagoneuropsychology.com



Director
Robert L. Heilbronner, Ph.D., ABPP-CN

                                                                           October 21, 2011

Ashley McDonald
Office of the Federal Defender Program
        For the District of Arizona
Capital Habeas Unit
850 West Adams Street, Suite 201
Phoenix, AZ 85007

Re:     State of Arizona v. John Edward Sansing

Dear Ms. McDonald,

I have completed a review of records and my evaluation of Mr. Sansing and wanted to provide you
with a summary of my opinions to date. The first part of this report is directed toward an analysis of
the opinions of the previous examiners who examined Mr. Sansing during the trial and post-conviction
relief phases. The second part will be directed largely towards my opinions derived from the results of
my examination of him on September 15 , 2011.

Annotated History. You are quite familiar with the facts of the case so I will not review them in detail.
Briefly, Mr. Sansing has been tried and convicted of First Degree Murder, dangerous kidnapping,
dangerous armed robbery, and dangerous sexual assault: he was sentenced to death. He is presently
incarcerated at The Arizona State Prison in Florence, Arizona. Mr. Sansing's initial appeal was denied
and now his case is in the Capital Habeas phase. His background history includes a number of
mitigating factors which were determined in the initial trial not to substantially outweigh the relevant
aggravating factors. Some of the non-statutory mitigating factors include: some impairment from the
use of crack cocaine, acceptance of responsibility and remorse for the crime, a difficult childhood and
family background, and love and support of family. Subsequent examinations in the appeal have raised
the issue of other relevant mitigating factors including: a history of abuse and neglect as a child, a
borderline level of intellectual functioning, possible learning disability, and a probable history of
psychiatric illness. In 2008, it was determined by a previous expert (Dr. Lanyon) that Mr. Sansing did
not show evidence of brain damage.

Documents Reviewed: Utah Department of Corrections evaluation 1985 (Bates 1-7), Valley Mental
Health Records 1988 (Bates 8-14), Hill competency assessment 8-6-98 (Bates 15-19), Parrish
handwritten notes 8-6-99 (Bates 20-24), Menendez report 5-10-99 (Bates 25-31), French report 2007


                                             PSER 34
        Case:
       Case    13-99001, 04/13/2017,
            2:11-cv-01035-SRB        ID: 10395709,
                                 Document          DktEntry:
                                            53-5 Filed       52, Page
                                                       02/24/12  Page37 of of
                                                                      117  100133


John Sansing                                                                          October 21, 2011

(Bates 32-35), Miller assessment report 9-23-07 (Bates 36-103), Lanyon psychological evaluation 3-3-
08 (Bates 104-120), Bayless report 2009 (Bates 121-126), Kirkley notes 2-10-99 (Bates 127-128),
Arizona Department of Corrections mental health records (selected) (Bates 129-223), School records
(Bates 224-283), Davis 9-1-99 letter to judge (Bates 284-298), Sansing Factual Basis for Change of
Plea 9-18-98 (Bates 299), Special Verdict 9-30-99 (Bates 300-316).

Analysis of Examinations from the Trial Phase: Mr. Sansing was examined by Dr. Sara Hill, a
defense expert, on 8/6/98 for the purposes of assessing his competency to stand trial. He was examined
by Dr. Kathryn Menendez, a defense expert, on 5/10/99 for the purposes of establishing learning
capacity and the presence of a learning disorder.

Dr. Hill's Report: In the Background section on Page 1 of Dr. Hill's report, she notes that Mr. Sansing
"...attended no special education classes" during grammar school and high school. But, there is a
question as to whether or not she had access to his school records. Those records clearly indicate that
Mr. Sansing's grades in grammar school were predominantly below average (e.g., D's and F's) with
evidence of declining grades with each passing year: his standardized test scores were also well below
same age peers. (Bates 87-89, 106, 108, 237, 239-242, 246-247, 272, 275-276, 280-283, 291-292,
296). He may not have attended special education classes, but that does not inherently mean that he did
not and does not have a learning disability. The school system may not have had adequate resources
for identifying and treating learning disorders. Dr. Hill fails to mention the history of neglect and abuse
in the home in which Mr. Sansing was raised, noted to be a relevant non-statutory factor by the judge
in 1999. (Bates 39, 48, 49-54, 57-66, 70-72, 76-78, 80, 93-95, 106-107, 111, 118, 122, 285, 290, 296-
297, 312, 314). Research and clinical evidence suggests that learning problems in a home where abuse
and'neglect are common is a toxic combination that almost always leaves longstanding cognitive,
emotional and behavioral consequences in the affected child. There is also evidence to suggest that
abuse and neglect in the home can have deleterious effects on the child's developing brain.

On Page 2, Dr. Hill writes that Mr. Sansing "...denies having gotten treatment for mental health
problems in the past, and relates he does not have family members who have been treated for mental
illness." Again, the absence of a formal psychiatric or psychological examination or treatment does not
inherently mean that Mr. Sansing did not have a psychiatric disorder or that members of his family also
did not have psychiatric conditions. In fact, the records clearly document a history of chronic and
pervasive Psychostimulant Abuse and Dependence in Mr. Sansing, meeting criteria for a diagnosable
mental disorder. (Bates 17-18, 22, 28, 31, 33-35, 82-84, 96, 108, 111-114, 118-120, 123, 126, 131,
291, 293-297). He also has signs and symptoms of Major Depressive Disorder and features on an
Intermittent Explosive Disorder. It is also highly likely that his mother has a history of psychiatric
disturbance that undoubtedly had a significant and deleterious impact upon his development as a child.
(Bates 40, 111, 118, 287-289, 296). Moreover, there is a question as to whether or not she was abusing
alcohol during her pregnancy with him, which also could have caused brain damage in-utero. (Bates
46, 50, 57, 60-61, 63, 94-95, 107, 111, 122, 290, 296, 312). On Page 2, Dr. Hill also fails to mention
Mr. Sansing's use/abuse of crystal methamphetamine, focusing instead on his use of marijuana and
crack cocaine. This omission is particularly important as the crystal methamphetamine is a significant
factor in the commission of the crime and highly relevant for its impact on Mr. Sansing's behavior
prior to and leading up to the murder.

 In the Mental Status section on Page 2, Dr. Hill writes that Mr. Sansing ".. .appears to have intelligence
 in the average range with a fund of information commensurate with incomplete high school
                                                     2

                                             PSER 35
        Case:
       Case    13-99001, 04/13/2017,
            2:11-cv-01035-SRB        ID: 10395709,
                                 Document          DktEntry:
                                            53-5 Filed       52, Page
                                                       02/24/12  Page38 of of
                                                                      118  100133


John Sansing                                                                           October 21, 2011

education." It is unknown how she arrived at this opinion. Again, she apparently did not have available
academic records, which include documentation of test results from 1981 when Mr. Sansing was 14
years old that indicate an IQ in the "borderline range", with weaker verbal abilities compared to
nonverbal abilities. (Bates 280-283). He was also noted to be "two or more grade levels behind in
verbal skills" on a standardized test. (Bates 108, 280-281). Also his "fund of information" is not
simply commensurate with someone who has an incomplete high school education. The testing I did
reveals a scaled score of 5 on the Information subtest of the Wechsler Adult Intelligence Scale - 4l
Edition (WAIS-IV) and suggests that his fund of information is substantially lower than individuals
who have failed to complete high school; it is even lower than someone who finished 9 Grade as he
did.

In the Summary section of her report, Dr. Hill writes "The defendant has a history of antisocial
behaviors, though more background information would be needed to make a diagnosis of Antisocial
Personality Disorder." Dr. Hill does not identify which "anti-social behaviors" Mr. Sansing has. Also,
she does not write, nor is there evidence in the other records, that he ever had a diagnosis of Conduct
Disorder as a child, a prerequisite for a diagnosis of Anti-Social Personality Disorder as an adult. Dr.
Hill appropriately expressed reservations about a diagnosis of Anti-Social Personality Disorder
because she did not have more thorough background information. This is important because Dr.
Menendez subsequently diagnosed Mr. Sansing with Anti-Social Personality Disorder in May 1999.
(Bates 31). In my opinion, this inaccurately paints a picture of Mr. Sansing as being someone who has
".. .a pervasive pattern of disregard for, and violation of, the rights of other that begins in childhood or
early adolescence and continues into adulthood." (DSM-IV). More likely, his behavior is a product of
drug abuse and drug seeking behavior and is not a product of an Anti-Social Personality Disorder.

Dr. Menendez _ Report: On Page 1 in her report, Dr. Menendez writes "...John's biological mother,
Glenda Singh, raised John and reportedly treated him well." She also writes that Mr. Skinner
(stepfather) also ".. .treated John adequately." These statements are in stark contrast to the information
in multiple records which documents a history of abuse and neglect as a child, particularly at the hands
of Mr. Skinner. Perhaps, Mr. Sansing denied a history of abuse and neglect during his interview with
Dr. Menendez; if that is so, it reflects either denial, a minimization of the reality of his childhood, or
some other factor. Whatever the explanation, it is relevant in that Dr. Menendez operates on the
assumption that Mr. Sansing's mother treated him well as a child. On Page 2, Dr. Menendez writes that
Mr. Sansing reports "...his early family life was normal with normal sibling relationships...." Again,
the records clearly document a history of abuse and neglect when Mr. Sansing was a child and his
relationships with his siblings was not at all normal. (Bates 39, 48, 49-54, 50-51, 57-66, 70-72, 76-82,
85, 93-95, 106-108, 111, 118, 122, 285, 290, 296-297, 312, 314). Mr. Sansing apparently reported to
Dr. Menendez that "...he was an average student with adequate behavior." (Bates 27). Again, this is
not consistent with the records, which document a history of borderline intellectual functioning and
grades that were largely D's and F's.

On Page 3, Dr. Menendez writes that Mr. Sansing used crystal methamphetamine on a regular basis
when he was 19 to 20, ".. .stopping when he came to Arizona." This is not consistent with the facts of
the case which document that Mr. Sansing had been abusing crystal methamphetamine up until a
month before the murder. (Bates 33, 114). In the Previous Testing section of her report, Dr. Menendez
writes "No known." She was either unaware of or did not have access to the test results from 1981
when Mr. Sansing was 14 years old and documents a borderline level of intellectual functioning.
(Bates 280-283). In the Current Testing section of her report, Dr. Menendez writes that a Full Scale IQ



                                             PSER 36
        Case:
       Case    13-99001, 04/13/2017,
            2:11-cv-01035-SRB        ID: 10395709,
                                 Document          DktEntry:
                                            53-5 Filed       52, Page
                                                       02/24/12  Page39 of of
                                                                      119  100133

John Sansing                                                                          October 21,2011

(80) was in the Below Average range. This is true if one interprets the score literally. However, given
the standard error of measurement, the score of 80 can range a few points higher or lower. Thus, the
score could be low enough to fall in the Borderline range (70-79). The same holds true for the
Performance IQ score of 79; it falls in the Borderline to Below Average range. On Page 4 (first full
paragraph), Dr. Menendez writes that "John has likely lost skills with his early attrition from high
school." I would argue that many of these skills were not lost, they were simply never acquired.

In the Diagnostic Impressions section on Page 4 of her report, Dr. Menendez diagnoses Mr. Sansing
with DSM-IV Axis I Disorders Cocaine Abuse (in remission) and R/O Paraphilia, NOS. On Axis II,
she diagnoses Anti-Social Personality Disorder. In my opinion, these diagnoses are both incomplete
and incorrect. First, Mr. Sansing abused not only cocaine, but crystal methamphetamine (another
psychostimulant). Thus, the diagnosis should be Psychostimulant Abuse. Moreover, his pattern of
abuse included symptoms of tolerance and withdrawal, thereby meeting criteria for Dependence, not
simply Abuse. The course specifier, in remission, is also inaccurate because Mr. Sansing was abusing
substances up until the time he was arrested (February 1998), which was over 12 months prior to Dr.
Menendez's report. Thus, the course specifier, sustained full remission should have been given. The
diagnosis R/O Paraphilia would also not be appropriate, particularly if Dr. Menendez was basing it
solely on the circumstances of the murder. In order to meet criteria for one of the Paraphilias, the
behavior must have been present for 6 months or longer and the "...fantasies, sexual urges, or
behaviors cause clinically significant distress or impairment in social, occupational, or other
important areas of functioning" for Mr. Sansing which was not the case. Finally, the Axis II diagnosis
of Anti-Social Personality Disorder was not accurate for reasons previously stated above.

In the Summary Discussion and Recommendations section of her report, Dr. Menendez writes that
there ".. .does not appear to be pronounced, significant learning disorder on the basis of this evaluation.
John's scores may have been affected by his early attrition from school and the disruption in his early
development." However, the tests she used (WAIS-III, WRAT-3, PIAT-R), while adequate for
assessing intellectual and academic functions, are not as sensitive as other measures (e.g., Woodcock
Johnson Psychoeducational Battery) for the purposes of assessing the presence and type of a learning
disability. Dr. Menendez was not specific about the "disruption in his early development." Further
elaboration would have been helpful for understanding how Mr. Sansing's early development affected
his overall level of intellectual and academic functioning. Beyond that, disruptions in early
development can affect much more than intellectual and academic skills: it can affect a child's
 approach to solving problems, their overall perceptual schema of the world in general, their
personality, how they interact with others in their environment, etc. It can also affect brain
 development and function.

Analysis of Examinations from the Post-Conviction Phase: At the request of defense counsel, Mr.
Sansing was examined by Dr. Edward French on 1/23/07 and Richard Lanyon on 3/3/08 directed
toward his drug use and to provide a comprehensive account of Mr. Sansing's life, respectively. Also
at the request of defense counsel, Dr. Paul Miller also prepared a report regarding the risk factors
affecting Mr. Sansing's development as a child and young adolescent.

Dr French's Revort: On Page 1 in his report, Dr. French includes inhalants, model glue, and gasoline
as substances of abuse for Mr. Sansing: these were not identified in the earlier reports of Drs. Hill and
Menendez. This is particularly important as all three substances are known to have deleterious effects
on an individual's brain and brain function, particularly during its development in infancy, childhood,



                                            PSER 37
        Case:
       Case    13-99001, 04/13/2017,
            2:11-cv-01035-SRB        ID: 10395709,
                                 Document          DktEntry:
                                            53-5 Filed       52, Page
                                                       02/24/12  Page40 of of
                                                                      120  100133

John Sansing                                                                         October 21, 2011

and adolescence. Dr. French writes that Mr. Sansing's ".. .drug use resulted in difficulties in the work
place and at home, and several arrests." By definition, these satisfy diagnostic criteria for substance
abuse. Dr. French writes that Mr. Sansing reported to him that he was using methamphetamine daily a
month before the homicide: this contrasts with Dr. Menendez's assertion that Mr. Sansing had stopped
using this substance when he came to Arizona.

On Page 2 of his report, Dr. French comprehensively documents the unwanted effects of
methamphetamine and the mild-moderate and severe behavioral and subjective effects of cocaine in
humans. It was his opinion that ".. .Mr. Sansing was under the influence of cocaine at the time of the
attack." On Page 3, he also opined that Mr. Sansing's "...chronic use of methamphetamine and crack
cocaine negatively impacted the underlying cognitive and emotional dysfunctions described by Dr.
Lanyon (see his report), and thereby diminished his ability to control his conduct toward the victim and
behavior several hours thereafter."

Dr. Lanyon's Revort: Dr. Lanyon examined Mr. Sansing on 1/9 and 2/6/09 as part of his post-
conviction petition. The purpose was to provide a comprehensive account of aspects of his life,
including possible childhood dysfunction, psychopathology if any, substance abuse if any, brain
damage, if any, and other factors that might be relevant in gaining a full understanding of his behavior
in committing the crimes for which he was convicted. In the report, Dr. Lanyon notes that Mr. Sansing
"declined to answer questions related to substance abuse" when he was interviewed by Mr. Valentin of
the Adult Probation Department. On Page 2, Dr. Lanyon appropriately identifies an intellectual
assessment that was done when Mr. Sansing was 14 years old: his I.Q. was noted to be in the
borderline range and "...his scores on nationally standardized achievement tests at that time were
sufficiently low to qualify him for learning disability services." Dr. Lanyon's report documents a
history of abuse and neglect in the home when Mr. Sansing was a child and it is clear from reading the
report that his mother was a chronic alcoholic and likely had an undiagnosed psychiatric condition.
 (Bates 39, 46, 48, 49-54, 57-66, 70-72, 76-78, 80, 93-95, 106-107, 111, 118, 122, 285, 290, 296-297,
 312,314).

On Page 3 in his report, Dr. Lanyon cites Dr. Miller's report which includes reference to research that
shows "children react to angry and aggressive parental conflict with physiological arousal." He also
notes that "physically abusive and harsh punishment is one of the most consistently predictive risk
factors for disrupting children's normal growth and development, and it is associated with children's
antisocial, aggressive, and violent behavior in the long run." What is not noted is the notion that
exposure to violence and trauma in infancy and during critical periods of development can have
deleterious effects on the organization and development of the brain leading to personality traits that
include (but are not limited to): hypersensitivity to external stimuli, hypervigilance, and to be in a
persistent stress-response state. It also leads to a "primitive and less mature" style of problem solving,
with violence often being employed as a means, albeit a very dysfunctional one, of expression and
communication.

Something that may be overlooked but is important to note when trying to understand Mr. Sansing's
neuropsychological issues is Dr. Lanyon's statement on Page 4 that Mr. Sansing "...was sniffing gas
and glue at that time" (when he was 11 years old). He also described himself as being depressed for
most of the time during adolescence. It appears that drugs were a method of self-medication for Mr.
Sansing as far back as early adolescence. On Page 6, Dr. Lanyon writes that Mr. Sansing told him that
drugs calmed him down, ".. .helped me to relax after a hard day of work; they eased the tension."



                                            PSER 38
        Case:
       Case    13-99001, 04/13/2017,
            2:11-cv-01035-SRB        ID: 10395709,
                                 Document          DktEntry:
                                            53-5 Filed       52, Page
                                                       02/24/12  Page41 of of
                                                                      121  100133

John Sansing                                                                         October 21,2011

In the Personal History section of his report, Dr. Lanyon identifies a number of factors (e.g., family
background, education, alcohol and drug use, etc) which are undoubtedly relevant for understanding
the psychological and emotional make-up of Mr. Sansing. A few things that are notable for the purpose
of understanding Mr. Sansing's brain function/dysfunction include his statement (Page 6) that he
"...got hit in the head with frying pans, and everything" and (Page 8) that "....he would deliberately
bash his head against the wall when having conflicts with his wife." There is also a question (Page 9)
of whether or not Mr. Sansing had attention deficit disorder when he was a child and also continuing
up to the time he was examined by Dr. Lanyon. He reports problems reading and remembering things.

Dr. Lanyon performed psychological testing with Mr. Sansing. The MMPI-2 profile was interpreted
accurately by analyzing the profile and various clinical scales and not item-by-item as Dr. Bayless does
(see his report below). Notably, profile analysis suggests the "...likelihood of a significant anxiety
disorder, depression, and thought disorder." There was also evidence of paranoid thoughts and
feelings, possibly leading to paranoid delusions. Dr. Lanyon also wrote that the "...profile does not
indicate antisocial characteristics or the likelihood of impulsive acting-out." (Bates 117). Thus, this is
contrary to Dr. Menendez's diagnosis. (Bates 31). Intellectually, Mr. Sansing obtained a Full Scale IQ
score of 87 which falls in the Low Average range; Dr. Lanyon regarded this as a reasonably reliable
estimate of Mr. Sansing's intellectual functioning "at the present time." (Bates 118). The important
point is the statement at the present time, for it suggests that Mr. Sansing may have experienced an
improvement in intellectual functions since he has been incarcerated and since he stopped abusing
substances.

Finally, Dr. Lanyon assessed Neuropsychological functioning. The tests he used (Trailmaking Test,
Wechsler Memory Scale, Aphasia Screening Test), are not sufficient for making a determination as to
whether or not a patient has neuropsychological impairment. By themselves, they constitute screening
tests as Dr. Lanyon indicates. But, the average scores by themselves do not rule out the possibility of
brain dysfunction. A much more comprehensive neuropsychological examination (like the one I
conducted on September 15th, 2011) comprised of measures assessing various aspects of cognitive
function (e.g., learning and memory, attention and concentration, executive functions, etc.) is required
before one can opine with any degree of psychological certainty that the patient either does or does not
have "impairment in functioning due to brain damage." I would add that because Mr. Sansing had been
incarcerated for over 10 years and had not been abusing drugs during that time would make it less
likely that he would have shown evidence of significant neuropsychological impairment that might
have existed at the time of the murder when he was under the influence of multiple brain-impairing
substances and had been abusing them for an extended period of time.

Dr. Bavless'Revort: Michael Bayless, Ph.D. was retained by the prosecution to examine Mr. Sansing's
intellect, personality, emotional stability, and amenability to treatment. In the Background section, Mr.
Sansing reported to Dr. Bayless that his mother "was also an alcoholic and at times was non-
affectionate and abusive." He was sent to detention when he was 12 years old and was reportedly
picked on and a victim of sexual assault while he was there. The Education section of the report does
not make any mention of Mr. Sansing's grammar school performance and the possibility that he had a
learning disorder as a child and adolescent.

 In the Psychological History section, Dr. Bayless writes that Mr. Sansing ".. .does not have a history of
 mood disturbance" and "...he denies any family history of mental illness..." (Bates 122). If this is
 what Mr. Sansing told Dr. Bayless, it clearly underestimates the magnitude of the psychopathology in



                                            PSER 39
        Case:
       Case    13-99001, 04/13/2017,
            2:11-cv-01035-SRB        ID: 10395709,
                                 Document          DktEntry:
                                            53-5 Filed       52, Page
                                                       02/24/12  Page42 of of
                                                                      122  100133

John Sansing                                                                           October 21, 2011

his family; it also minimizes his apparent history of mood disturbance. (Bates 11, 82-84, 95, 112, 118).
Whereas he may have never had a formal evaluation or treatment for any psychiatric condition, his
history and his use/abuse of drugs is a clear manifestation of a diagnosable psychiatric disturbance
(e.g., substance abuse/dependence). (Bates 17-18, 22, 28, 31, 33-35, 82-84, 96, 108, 111-114, 118-
120, 123, 126, 131, 291, 293-297). Moreover, it omits the fact that Mr. Sansing's use of drugs
represents a means for him to self-medicate his symptoms of depression and it also was a cause of a
mood disturbance. Mr. Sansing also mentioned to Dr. Bayless that he had seen his deceased
grandmother and grandfather (visual hallucinations); this is not something that occurs in individuals
without a psychiatric illness or some other disturbance of brain function, unless they are under the
influence of some type of illicit substance.

In the Medical History section of his report, Dr. Bayless reports that Mr. Sansing's history is ".. .free of
any neurological trauma and subsequent impairment." This is not true. During my interview with him,
Mr. Sansing reported a history of multiple head traumas as a result of being struck on the head with an
ashtray and a heavy metal skillet on a number of occasions by his wife. He also reports a history of
striking his head against a wall when he would be extremely angry and a time when his brother
"slammed me on the ground" where he was dazed for awhile. In fact, neurological trauma and its
subsequent effects are a relevant but inadequately explored factor to consider in this case and will be
discussed more extensively in the Summary and Opinions section of this report.

In the Alcohol/Drug History section of the report, Dr. Bayless describes Mr. Sansing's use of alcohol
and other drugs. He appropriately documents the age of onset (11 for alcohol and 12 for illicit drugs)
and identifies the various substances Mr. Sansing has used from adolescence up to adulthood.
However, he does not document the pattern and extent of use and the important point that such chronic
use with associated symptoms of tolerance and withdrawal satisfies a diagnosis of Polysubstance
Dependence.

Dr. Bayless performed a psychological evaluation on Mr. Sansing which included only two
standardized tests (The Wechsler Abbreviated Scale of Intelligence: WASI and the Minnesota
Multiphasic Personality Inventory-2). Notably, the WASI is an abbreviated test of intelligence.
Whereas the obtained IQ scores correlate highly with the full version (WAIS-III), such an abbreviated
version is discouraged in forensic cases where issues of reliability and validity of evidence are
especially relevant. The obtained Full Scale IQ of 88 (Low Average to Average) is the highest IQ score
Mr. Sansing had obtained at any point in his life and, in my opinion, is inflated because of the
abbreviated form of the test. Also, test practice effects from having been tested on previous occasions
may have also elevated the score, leading to the opinion that Mr. Sansing's intellectual abilities are
higher than they truly are. Dr. Bayless also fails to account for the possibility that the higher IQ score
may be a product of Mr. Sansing having been incarcerated for approximately 10 years. Being drug-free
and living in a structured prison environment may have actually helped to raise the IQ score, causing it
to be higher than it was in the years before the murder. Finally, Dr. Bayless' statement that Mr.
Sansing "...did not report nor did his test scores indicate the presence of neurological impairment" is
erroneous. An intelligence test such as the WAIS-III and certainly an abbreviated version like the
WASI cannot be used to rule in or rule our neurological impairment: it is simply not sufficient for
making this determination. Nor, does it provide a foundation for making the statements that Mr.
Sansing ".. .was oriented to reality and had the capacity to appreciate the difference between right and
wrong. His thinking was free of hallucinations and delusions. His concentration, memory, judgment,
and decision-making were intact."



                                             PSER 40
         Case:
        Case    13-99001, 04/13/2017,
             2:11-cv-01035-SRB        ID: 10395709,
                                  Document          DktEntry:
                                             53-5 Filed       52, Page
                                                        02/24/12  Page43 of of
                                                                       123  100133

John Sansing                                                                           October 21, 2011

Dr. Bayless used a computer program to interpret the MMPI-2 results (print-out unavailable for
review). Although this is one acceptable form for interpreting the MMPI-2, the individual statements in
the print out cannot be applied to the test taker unless there is an adequate basis for doing so. The
content of Dr. Bayless' report includes sentences that are directly taken from the MMPI-2 booklet.
That is, he is describing Mr. Sansing's personality based upon an item-by-item response. This type of
literal item-by-item interpretation is not acceptable or consistent with the standards set forth by the test
developers and others who have researched this instrument for many, many years. In other words, Dr.
Bayless writes that Mr. Sansing ".. .thinks that most people will use unfair means and lie to get ahead"
and ".. .he thinks and dreams of things that are too bad to talk about." Unless Mr. Sansing literally said
these kinds of things to Dr. Bayless, it is assumed that they are taken directly from the MMPI-2 test
booklet. They should not be used in isolation to characterize Mr. Sansing's personality and emotional
functioning. In fact, almost all of Page 5 is replete with direct statements from the MMPI-2 manual and
should not be used for interpretive purposes.

In the Summary section of the report, Dr. Bayless emphasizes Mr. Sansing's alleged mental state at the
time the murder occurred. Yet, the purpose of the evaluation was "...to examine Mr. Sansing's
intellect, personality, emotional stability, and amenability to treatment." Dr. Bayless writes that "Mr.
Sansing appears to be suffering from a personality disorder along with drug dependence. His behavior
in the instant offense was not caused by a mental illness or defect that interfered with his ability to
discriminate between right and wrong." Further, he writes that Mr. Sansing's ".. .behavior suggest he
was fully aware of what he was doing." In my opinion, the combination of the effects of significant
drug intoxication in the context of a dysfunctional brain significantly impaired Sansing's capacity to
conform his conduct to the requirements of the law.. Dr. Bayless also notes that Mr. Sansing "...did
not indicate any guilt or remorse for his behavior." I do not know whether or not he directly asked Mr.
 Sansing if he felt any guilt or remorse or was simply waiting for him to express such feelings without
being prompted. It cannot be reasonably expected that a defendant would spontaneously express guilt
or remorse so many years later, particularly to an examiner retained by the prosecution. Dr. Bayless
 diagnoses Mr. Sansing with Cocaine Dependence and Personality Disorder NOS with antisocial and
 obsessive compulsive traits. Like Dr. Hill before him, these diagnoses are incomplete and do not
 capture the nature and extent of Mr. Sansing's psychological and emotional limitations. Also, these
 diagnoses are inadequate in that they lack attention to the underlying brain dysfunction that was
present from childhood all the way up until the time the murder occurred.

                 Neuropsychological Examination on September 15 , 2011

Behavioral Observations: Mr. Sansing was examined in a private office at the Arizona State Prison in
Florence, AZ. He was dressed in prison-issue garb and was restrained by a chain around his leg
attached to the floor and an electric shock device which was attached to his left arm: this was
controlled and monitored by an officer who maintained visual contact throughout the examination via a
window in the door. Mr. Sansing looked older than his chronological age of 44. The day before the
examination, he informed his attorney that he did not want to speak about the facts of the case or talk
about his background as these things have been discussed multiple times and with others before. He
agreed to participate in the testing because it had already been arranged and he wanted to cooperate
with counsel. When I arrived, I informed him that I was aware that I was not to inquire about his
history, the facts of the case, etc. Mr. Sansing said that he was "kinda on the fence about things" and
was wrestling with having to make a decision soon whether to continue with his appeal or not.

                                                      8

                                             PSER 41
        Case:
       Case    13-99001, 04/13/2017,
            2:11-cv-01035-SRB        ID: 10395709,
                                 Document          DktEntry:
                                            53-5 Filed       52, Page
                                                       02/24/12  Page44 of of
                                                                      124  100133

John Sansing                                                                      October 21, 2011

Nonetheless, the interview focused largely on issues relevant to neuropsychological functioning
including academic background, history of alleged head trauma, and use/abuse of various substances.

Tests Administered: Wechsler Adult Intelligence Scale-4th Edition (WAIS-4), Wechsler Memory Scale-
4th Edition (WMS-4: Logical Memory subtest), Wide Range Achievement Test-4th Edition (WRAT-4),
California Verbal Learning Test-2 (CVLT-2), Brief Visual Memory Test-Revised (BVMT-R),
Repeatable Battery for the Assessment of Neuropsychological Status (RBANS: select subtests), The
Clock Drawing Test, Trailmaking, Parts A & B, Delis-Kaplan Executive Function Scales (DK-EFS:
select subtests), Wisconsin Card Sorting Test (WCST), The Short Category Test, Boston Naming Test
(BNT), tests of verbal fluency, Visual Form Discrimination (VFD), Finger Tapping Test, Grooved
Pegboard, Beck Depression (BDI-2) and Anxiety (BAI) Inventories, Beck Hopelessness Scale (BHS),
Wender-Utah Rating Scale (WURS), The Fifteen Item Test (recall & recognition), Test of Memory
Malingering (TOMM).
                                           Test Results
Validity & Test Interyretation Considerations: In order to assess effort, motivation, and potential
response bias on cognitive testing, performance on measures sensitive to malingering, erratic
performance, and invalid response patterns were assessed. Mr. Sansing's scores on the 15 Item Test,
TOMM, Reliable Digit Span, and other embedded neuropsychological measures reflected no signs of
suboptimal performance. Taken together with his observed test-taking behavior, these test results
suggest that he put forth adequate effort and did not attempt to feign or exaggerate impairment. The
current cognitive results are considered reliable and valid.

Cosnitive Functions: Mr. Sansing is presently functioning in the Low Average to Average range of
intelligence with a WAIS-4 FSIQ of 90 (25th%ile). The Verbal Comprehension Index (VIQ=80,
9th%ile) is in the Borderline to Low Average range and Perceptual Reasoning skills (PRI=102, 55
%ile) are in the Average range. The 22 point discrepancy between the VCI and PRI is considered
statistically significant and reflects a significant weakness in the verbal realm compared to the
nonverbal realm. This is consistent with the results of most of the assessments he has previously
undergone and his educational performance, reflecting a pattern of verbal learning difficulties over
time. Working Memory (WMI=83, ^Voile) was Low Average and the Processing Speed Index
(PSI=105, 63rd%ile) was Average. The verbal subtest scores were all low average, except for
Information (5) which was borderline and represents a relative weakness in a general fund of
information for Mr. Sansing. Overall, the current IQ and Index scores are less than expected for same
age and education peers based upon an estimate derived from demographic factors (WTAR FSIQ=96).

Mr. Sansing was given a number of measures to assess academic skills. A look at the profile reveals
scores that are generally below the expected level for someone who has completed 9* Grade. WRAT-4
Spelling (8.9 Grade; ^^/oile) was good, as reflected by his ability to simply spell words. In contrast,
relative weaknesses were demonstrated on tasks measuring Reading (6.0 Grade; (8* %ile) Sentence
Comprehension (6.8 Grade; (5th%ile), and Written math skills (5.7 Grade; 10th%ile). These scores are
lower than 90% of more of people in the general population. Like the IQ assessment, this is a pattern
of performance (i.e., weaknesses in reading and sentence comprehension) that has been evident
throughout Mr. Sansing's educational history, consistent with a pattern of learning difficulties in the
verbal academic realm.




                                          PSER 42
         Case:
        Case    13-99001, 04/13/2017,
             2:11-cv-01035-SRB        ID: 10395709,
                                  Document          DktEntry:
                                             53-5 Filed       52, Page
                                                        02/24/12  Page45 of of
                                                                       125  100133

John Sansing                                                                          October 21, 2011

Mr. Sansing scored in the moderately impaired to average range on the memory tasks, including those
requiring the learning and recall of auditory (words, stories) and visually (figures) material. His first
trial recall of words from the word lists was mildly impaired (impaired working memory). He showed
improved learning on the subsequent trials, but not to the expected degree; he recalled 9/15 words after
the fifth trial on one of the tasks, but 8/10 on another. His performance was very affected by the effects
of proactive interference, to the point that he recalled only one word from a second list. Short-term
recall of the words from the first list was good; in contrast, delayed recall was mildly impaired; on the
other word list (RBANS), his delayed recall was very impaired in that he did not recall any of the
words. Recognition memory (12/16 and 18/20) was mildly impaired. Immediate and delayed auditory
memory of the WMS-4 stories were significantly impaired. There was simply too much information
for Mm to learn and remember and he appeared to have problems processing the amount of
information to-be-remembered.

Compared to his auditory memory, Mr. Sansing did slightly better on tasks requiring visual memory.
He did well learning and recalling geometric figures across trials and the total amount that he recalled
was low average. Delayed recall was mildly impaired, but without evidence of false positive errors.
Immediate and delayed visual memory on the Visual Reproduction subtest from the WMS-4 was good.
His reproduction of the RBANS complex figure was good and he remembered most of it after a delay.

Mr. Sansing's scores on WAIS-4 tests measuring verbal (Similarities) and nonverbal abstract (Matrix
Reasoning) reasoning skills were low average and average, respectively. On the WCST, a task that
requires cognitive flexibility in response to changing rules, he obtained 4 categories falling in the
mildly impaired range. He had problems "learning to learn" the task and showed a failure to maintain
set at several points during the task; he also made some perseverative errors and responses. Mr.
Sansing's scores on DK-EFS Sorting task were low average, generally in keeping with his overall level
of intellectual functioning. He had trouble coming up with solutions and generating different
hypotheses to solve the problems: he also made some perseverative errors on both the free sorting and
recognition components and had difficulty describing the abstract concepts underlying the task.

Mr. Sansing's attention, concentration, and working memory skills were generally intact, in the context
of the present examination environment (e.g., one on one with an examiner and relatively-free of
external distractions). Confrontation naming abilities on the BNT were low average, likely a product of
his limited educational background. Semantic and phonemic verbal fluency skills were within normal
limits. His score on VFD, a visual-form discrimination task, was excellent; he did well on RBANS
Line Orientation task, which required him to perceive and accurately judge the angles of lines. Simple
motor speed was average for his dominant, right and his non-dominant left hand. He also did well on a
task requiring fine motor coordination, dexterity, and speed, with his scores falling in the average
range for the right and left hands, respectively.

Emotional Functions: Mr. Sansing was administered the BDI-II to assess symptoms of possible
depression. He obtained a score of 37 which falls in the severe range. He endorsed a number of items,
most of them were emotional (e.g., sadness, pessimism, thoughts of self-harm) in nature, but also some
cognitive (reduced concentration) and physical (sleep disturbance) ones. His score (25) on the BAI,
which measures symptoms of anxiety, was in the moderate to severe range. The score (18/20) on the
BHS reflects signs and symptoms of hopelessness and pessimism about the future, which is understood
in the context of his current situation (e.g., being incarcerated and not knowing about his future).


                                                     10

                                             PSER 43
        Case:
       Case    13-99001, 04/13/2017,
            2:11-cv-01035-SRB        ID: 10395709,
                                 Document          DktEntry:
                                            53-5 Filed       52, Page
                                                       02/24/12  Page46 of of
                                                                      126  100133

John Sansing                                                                         October 21, 2011

Summary and Conclusions: Results of the present evaluation indicate a pattern of performance that
reflects longstanding deficits in multiple areas. Mr. Sansing's overall IQ score was in the Low Average
to Average range, which is higher than the borderline IQ score he obtained when he was 14 years old.
This may reflect a difference in the tests (the WAIS-IV IQ includes measures of working memory and
processing speed whereas earlier versions of related tests did not include those concepts). It may also
suggest that his general intellectual abilities have improved since childhood, perhaps as a result of
being abstinent from brain-impairing drugs and free of the deleterious influence of a home life that was
not only non-stimulating but also threatening and impeded cognitive and emotional growth. He
continues to show a disparity between verbal and nonverbal abilities, with verbal skills falling two-
thirds of a standard deviation (10 points) below the Full Scale IQ score: they fall more than a standard
deviation (>15 points) below the population mean (100). In fact, the VCI score (80) is at the 9th%ile,
which suggests that 91% of the general population would score higher than he did on this particular
index. Mr. Sansing's scores on measures of academic functioning were below his obtained level of
education and reflect problems with reading, sentence comprehension, and math, falling at the 6
Grade level. The scores on tests measuring reading, math, and sentence comprehension were lower
than 90% of the general population. Beyond these domains, he also had difficulties on tests measuring
reasoning, problem solving, and cognitive flexibility, with evidence of perseverative tendencies and a
rather concrete style of thinking. These cognitive deficits were not evident on previous testing because
neuropsychological measures were not administered as they should have been, because of his history
and resulting questions about possible brain damage.

It is widely recognized that parent-child relationships characterized by emotional warmth, positive
parental involvement and the fostering of individual strivings for independence (secure attachment) are
associated with healthy psychosocial adjustment, good peer relationships, and higher self-esteem.
Absence such experience and development (insecure attachment), dysfunctional behavior is inevitable.
This is largely dependent on the internal working model of each parent, with parental psychopathology
being a key determinant of a child's subsequent development and behavior. A child growing up in a
chaotic and persistently threatening environment is more likely to be hypersensitive to external stimuli,
to be hypervigilant, and to be in a persistent stress-response state. The resulting difficulties with
cognitive organization contribute to a more primitive, less mature style of problem solving, with
violence and aggression often employed as a means of coping. This does not represent primary
psychopathy where the violence is planned, purposeful, and emotionless; rather, it is a defensive
reaction to a perceived threat and is accompanied by heightened emotional arousal. In Mr. Sansing's
case, the violence was directed toward the victim. Under the influence of substances and in a time of
stress, he perceived a threat from the victim's actions, which led him to act in an irrational and violent
manner.

As previously stated, cognitive impairment was demonstrated in select areas (e.g., attention, learning
and memory, certain executive functions). There is scientific literature and clinical evidence to suggest
that these are the types of cognitive tasks that are often compromised in cases of childhood abuse and
neglect and it is hypothesized that this is a result of impairment in a functional brain network involving
prefrontal lobe-amygdala systems dysfunction. Single traumatic events (e.g., natural disasters), and
certainly the accumulation of chronic stressful events very early in life (such as from repeated
emotional and physical abuse) can negatively affect brain systems that are responsible for managing
emotions and coping with stress. Early life experience determines core neurobiology and there are very
narrow windows or 'critical periods' of development during which specific cognitive-emotional
experience (from primary parental relationships) is required for optimal organization and development
                                                    11

                                            PSER 44
          Case:
         Case    13-99001, 04/13/2017,
              2:11-cv-01035-SRB        ID: 10395709,
                                   Document          DktEntry:
                                              53-5 Filed       52, Page
                                                         02/24/12  Page47 of of
                                                                        127  100133

John Sansing                                                                         October 21, 2011

of the brain. Indeed, neurobehavioral dysfunction as a result of environmental deprivation(s), neglect,
and abuse has disproportionate importance in organizing the brain, leading to the underdevelopment of
the brain which can result in the persistence of primitive, immature behavioral reactivity. This appears
in ways besides (or in addition to) deficits on traditional neurocognitive measures: it manifests through
the development of soft neurological signs, psychiatric symptomatology, and impaired psychosocial
relationships. Chronic and pervasive substance abuse and dependence, particularly with psycho-
stimulants, on top of an already compromised brain is an unfortunate combination of factors that has
significant repercussions for the affected person. In my opinion, such is the case with Mr. Sansing.

Overall, considering the history, interview information, and neuropsychological profile elucidated
above, it is my opinion that there is objective evidence of cognitive dysfunction reflecting brain-based
disturbances in functioning. In other words, the cognitive deficits cannot be explained by other factors
such as normal aging, psychological/emotional issues (e.g., depression, anxiety), or any other type of
current environmental stressors. The cognitive deficits occur in the context of significant mental health
and substance abuse factors combined with a developmental history that includes significant
psychological abuse and neglect. Indeed, Mr. Sansing's history is replete with evidence of serious
problems in the neurodevelopmental, familial, and psychosocial realms. Although never formally
diagnosed, he has symptoms associated with several psychiatric disorders (identified below) and he
never received treatment for these conditions during his childhood, adolescence, or as an adult. He
comes from a dysfunctional family that includes a mother who was physically and emotionally abusive
and a stepfather(s) who were also physically and emotionally abusive. There is also a family history of
alcoholism in his parents and grandparents. In fact, there is a question as to whether or not his mother
abused alcohol during her pregnancy with him, raising a concern about symptoms of possible Alcohol
Related Neurodevelopmental Disorder (ARND). He was not raised in the type of home that promotes
a healthy sense of self-esteem and self-worth and adaptive coping skills for managing stress and
 conflict. On the contrary, Mr. Sansing never learned how to manage his emotions and they were
mostly internalized, manifesting in symptoms of depression and substance abuse. Yet, there were times
in which he would act-out in violent ways (often, injuring himself in the process). Mr. Sansing never
received adequate intervention for these symptoms and his mental state continued to deteriorate
 secondary to the chronic effects of substance abuse and dependence.

Diagnostic Impressions:

Axis I         Major Depressive Disorder, recurrent, severe with paranoid features (by history)
               Cognitive Disorder, NOS
               Psychostimulant Dependence and Abuse
               Intermittent Explosive Disorder
        R/O    Post Traumatic Stress Disorder, chronic from childhood
Axis II:       None
Axis III       None
Axis IV        Psychosocial Stresses: dysfunctional childhood, physical abuse and
               emotional abuse as a child; convicted of First Degree Murder; facing death penalty
AXIS V         Highest level past year: 70; Current level: 70.




                                                    12

                                            PSER 45
        Case:
       Case    13-99001, 04/13/2017,
            2:11-cv-01035-SRB        ID: 10395709,
                                 Document          DktEntry:
                                            53-5 Filed       52, Page
                                                       02/24/12  Page48 of of
                                                                      128  100133

John Sansing                                                                    October 21, 2011

The information expressed in this report represents an accurate and true account of my opinions to
date. I reserve the right to amend/append these opinions as further information becomes known.


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Robert L. Heilbronner, Ph.D., ABPP
Director / Clinical Neuropsychologist




                                                13

                                         PSER 46
      Case:
     Case    13-99001, 04/13/2017,
          2:11-cv-01035-SRB        ID: 10395709,
                               Document          DktEntry:
                                          53-5 Filed       52, Page
                                                     02/24/12  Page49 of of
                                                                    130  100133


   ** PUBLIC **             PHOENIX POLICE DEPARTMENT REPORT                    ** RECORD **

    ORIGINAL                PAGE NUMBER:      1        DR NUMBER: 0000 80384200


REPORT DATE: 19980307        TIME: 1437

TYPE OF REPORT:     BURGLARY                                              OFFENSE: 459

PROSECUTION DESIRED: YES

LOCATION: 003846 W ALICE AVENUE                                  BEAT: 0924       GRID: CG20

DATE/TIME OF OCCURRENCE:        THU       03 0598   183 0    /     SAT      030798       1300

REPORTING OFFICER [S] : THOMAS BARILLA                              5412          UNIT: CALL

PREMISES: SINGLE FAMILY HOUSE                                               OCCUPIED: NO

OFFENSE INVOLVED:      BIAS -
                           **** VICTIM INFORMATION ****

  VICTIM -01:
                           NAME: SANSING, JOHN
      RACE: W     SEX: M    AGE:           DOB: 1969        HT: 000              WT: 0 0 0

      CLOTHING DESC & MISC:
      VI IN CUSTODY FOR 261/451 MADISON JAIL
      CAN ID SUSPECT(S): NO                                 SUSPECT(S)
      WILL TESTIFY: YES                                     MISC.

      VICTIM REQUESTS NOTIFICATION
                           **** REPORTING PERSON INFORMATION ****

  REPORTING PERSON -01:
                     NAME: HOOPER, PATSY
      RACE: W SEX: F AGE:                  DOB: 1963         HT: 000             WT: 000
      HAIR:           EYES:                SSN:
      CAN ID SUSPECT(S): NO                                 SUSPECT(S) :
      WILL TESTIFY: YES                                     MISC.



                ****   CRIME SCENE \ CRIME AGAINST PROPERTY              ****

SCENE NUMBER    : 01

ENTRY POINT: WINDOW
     LOCATION: FRONT
     METHOD: BROKE
     TOOL/INSTRUMENT USED: UNKNOWN


  0000 80384200                                                                      Continued.




                                      PSER 47
      Case:
     Case    13-99001, 04/13/2017,
          2:11-cv-01035-SRB        ID: 10395709,
                               Document          DktEntry:
                                          53-5 Filed       52, Page
                                                     02/24/12  Page50 of of
                                                                    131  100133


• • ** PUBLIC **         PHOENIX POLICE DEPARTMENT REPORT            ** RECORD **

    ORIGINAL             PAGE NUMBER:      2         DR NUMBER: 0000 80384200


EXIT POINT: UNKNOWN

SUSPECT ACTIONS.:
         RANSACKED
VICTIM WAS: IN JAIL
                             * * -t   NARRATIVE
  SERIAL NUMBER: 5412

REPORT TAKEN BY CALLBACK.
ON 03 0798 AT APPROX 1417 HRS I CONTACTED Rl PATSY HOOPER WHO IS VI JOHN
SANSING'S SISTER.Rl.STATED THAT THE LISTED HOME WAS BURGLARIZED BETWEEN
THE LISTED DATES AND TIMES BY SUBJECT/S UNKNOWN.Rl STATED THAT WHEN SHE
ARRIVED TO CLEAN THE HOME SHE NOTICED THAT THE FRONT LIVINGROOM WINDOW
WAS SMASHED AND IT APPEARS THAT SUSPECT/S REACHED IN AND UNLOCKED THE
WINDOW THEN MADE ENTRY. Rl STATED THAT THE HOME WAS RANSACKED AND THAT
SOME JEWELRY WAS PILED UP ON. THE KITCHEN COUNTER AND SOME CLOTHES HAD
BEEN MOVED. Rl STATED THAT IT DID NOT APPEAR THAT ANYTHING WAS TAKEN. IT
SHOULD BE NOTED THAT VI IS IN CUSTODY AT MADISON JAIL
        ' THAT OCCURRED AT THE HOME APPROX 1 WEEK AGO.
VI ALSO STATED THAT THE REAR FENCE GATE WAS OPEN WHEN SHE ARRIVED. I
I REQUESTED THAT A FIELD UNIT RESPOND TO PROCESS THE SCENE FOR LATENTS
AND ANY' OTHER PHYSICAL EVIDENCE,AND TO GIVE Rl A VICTIMS RIGHTS CARD INC
# 980384500.NFI

  VICTIM RECEIVED RIGHTS INFORMATION:          YES          MAIL-IN SUPPLEMENT:

INVOICES:
  DR ENTERED BY : 5412      DR FINALIZED BY : 5412
                                 END OF REPORT              DR NO: 0000 80384200




                                      PSER 48
     Case:
    Case    13-99001, 04/13/2017,
         2:11-cv-01035-SRB        ID: 10395709,
                              Document          DktEntry:
                                         53-5 Filed       52, Page
                                                    02/24/12  Page51 of of
                                                                   132  100133



   ** PUBLIC **          PHOENIX POLICE DEPARTMENT REPORT                 ** RECORD **

    SUPPLEMENT           PAGE NUMBER:     1          DR NUMBER: 0000 80384200             1


REPORT DATE: 19980307     TIME: 1651

TYPE OF REPORT:     BURGLARY                                           OFFENSE: 459

LOCATION: 003 846 W ALICE AVENUE                             BEAT: 0 924    GRID: CG2 0

REPORTING OFFICER[S]: DAVID AUSTIN                              6203        UNIT: 92G

PREMISES : SINGLE FAMILY HOUSE                                           OCCUPIED: YES

OFFENSE INVOLVED:     BIAS -

SCENE PROCESSED FOR LATENTS: YES        BY: 6,203

LATENTS SUBMITTED TO CRIME LAB: YES

  SURFACES EXAMINED FOR PRINTS            METHOD USED

    OUTSIDE WINDOW EAST SIDE HOUSE       POWDER
                               ****   NARRATIVE     ****
  SERIAL NUMBER: 6203
ON 030798, AT APPROXIMATELY 1651 HOURS, I RESPONDED TO RADIO TRAFFIC OF A
BURGLARY SUPPLEMENT. THE CALL WAS PLACED BY CALLBACK AND CAME OUT AS A
REQUEST TO RESPOND TO THE SCENE AND DUST FOR LATENT PRINTS.

UPON MY ARRIVAL, I DUSTED THE WINDOW ON THE EAST SIDE OF THE HOUSE, THE
FARTHEST WINDOW TO THE SOUTH. I OBTAINED NO USABLE PRINTS FROM THE
INSIDE   I WAS ABLE TO OBTAIN SOME USABLE PRINTS FROM THE OUTSIDE. THEY
WERE LATER SENT DOWN TO THE LATENT PRINT SECTION FOR ANALYSIS.

PASS / A3722 / 6203 / 030898 / 1608 / LIVE


  VICTIM RECEIVED RIGHTS INFORMATION:         NO              MAIL-IN SUPPLEMENT:

INVOICES:
  DR ENTERED BY : A3722        DR FINALIZED BY       A3722

                                 END OF REPORT                DR NO: 0000 80384200            001




                                      PSER 49
        Case:
       Case    13-99001, 04/13/2017,
            2:11-cv-01035-SRB        ID: 10395709,
                                 Document          DktEntry:
                                            53-5 Filed       52, Page
                                                       02/24/12  Page52 of of
                                                                      133  100133


   ** PUBLIC **             PHOENIX POLICE DEPARTMENT REPORT                      ** RECORD **

    SUPPLEMENT              PAGE NUMBER:      1          DR NUMBER: 0000 80384200                2


REPORT DATE: 20050112        TIME: 1630

TYPE OF REPORT:      BURGLARY                                                  OFFENSE: 459

LOCATION: 003846 W ALICE AVENUE                                      BEAT: 0924    GRID: CG20

DATE/TIME OF OCCURRENCE:          THU     030598       1830     /      SAT       030798   1300

REPORTING OFFICER [S] : NATALIE SIMONICK                                6669        UNIT: L33

OFFENSE INVOLVED:      BIAS - NONE(NO BIAS)

                            ***    PROPERTY/EVIDENCE           ***

RECOVERY LOCATION: 00000 0
DATE: 0 0 0000                            SEARCH WARRANT INVOLVED:
0001    PKG 001 CODE:EI   UK01
                ITEM: YPRINT BRAND:         MODEL:             COLOR:
        SIZE:         QUANTITY: 0001   SERIAL/ACCT/ID:
       DESCRIPTION: ONE USABLE LATENT PRINT IMPOUNDED PER THE LAB
       ENHANCEMENT TEAM. NO AFIS QUALITY.
                                  ****   NARRATIVE      ****
  SERIAL NUMBER: 6669
THIS SUPPLEMENT IS BEING GENERATED TO IMPOUND LATENT PRINTS TAKEN FROM BOX
#2702586, WHICH WERE REVIEWED AND IMPOUNDED BY THE LAB ENHANCEMENT TEAM.


  VICTIM RECEIVED RIGHTS INFORMATION:             NO                  MAIL-IN SUPPLEMENT:

INVOICES:         3296669
  DR ENTERED BY : *6669           DR FINALIZED BY : *6669
                                    END OF REPORT                     DR NO: 0000 80384200           002




                                         PSER 50
Case: 13-99001, 04/13/2017, ID: 10395709, DktEntry: 52, Page 53 of 100




                                                            1ICHAEL K. JEANES, CLERK/f
RICHARD M. R O M L E Y ^                                •     l-KHAEL It J'AAA, lu'L'f.
                                                              a
MARICOPA COUNTY ATTORNEY
                                                               pjm^"-
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Deputy County Attorney
Bar ID #: 003390
                                                             1999 SEP 23 PM 1=1*9

Vince Imbordino
Deputy County Attorney
Bar ID #: 004291
MCAO Firm #:' 00032000
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301 W Jefferson St Ste 800
Phoenix, AZ 85003-2143
Telephone:    (602) 506-5780
Attorney for Plaintiff


          IN THE SUPERIOR COURT OF THE STATE OF ARIZONA

                   IN AND FOR THE COUNTY OF MARICOPA



STATE OF ARIZONA,
                                              NO. CR 98-03520(A)
                  Plaintiff,
                                              STATE'S REPLY TO DEFENDANT'S
           vs .                               SENTENCING MEMORANDUM

JOHN EDWARD SANSING,                          (Assigned to the Honorable
                                              Ronald Reinstein)
                  Defendant.


     The State of Arizona, by and through undersigned counsel,

replies to the Defendant's Sentencing Memorandum.

     Submitted September       AIPTP    1999,

                                       RICHARD M. ROMLEY
                                       MARICOPA COUNTY ATTORNEY



                                       BY
                                            William K. Culbertsqn
                                            Deputy County Attorney


                                       BY     6<A AC E
                                            Vince Imbordino
                                            Deputy County Attorney                        ®


                                   PSER 51
Case: 13-99001, 04/13/2017, ID: 10395709, DktEntry: 52, Page 54 of 100




                   StWRNDUM OF POINTS AND AUTHORITIES
                  MEMWBJTDUM              AUTHQ^m

                                   AGGRAVATION

A.    CRUEL,   HEINOUS OR DEPRAVED

      I.      CRUELTY

      Cruelty is proved when the victim consciously suffers either

physical or mental anguish prior to death.           State v. Schackart, 190

Ariz. 238, 947 P.2d 315 (1997); cert, denied 119 S.Ct. 149, 142

L.Ed.2d 122 (1998).

      Uncertainty about one's ultimate fate can constitute mental

anguish.      In State v. Medina, 193 Ariz. 504, 975 P.-2d 94 (1999) a

case cited by the defense, the victim made several pleas to the

defendant.      In Medina the victim cried: "Please don't hit me.

Don't hit me.           Don't.     Don't."   The Medina Court held these

statements constituted both physical and mental pain and suffering.

The   Court    stressed     that    an -analysis   of. cruelty    includes   an

examination of- the totality of the circumstances surrounding the

murder and not just the final act that killed the victim.

      In the case at bar, Trudy Calabrese • was "body slammed",

hogtied about the wrists and ankles, and robbed.           She was heard to

beg   for her life by five separate witnesses.                   One of those

witnesses, the defendant's wife Kara Sansing, testified.                     The

defendant's four children spoke to the police and their statements

were received in evidence by stipulation of all parties. According

to those five' witnesses, Trudy Calabrese pleaded and begged for her

life in a manner not dissimilar from the victim in Medina.              Trudy

stated: "God, just help me... Please, Lord, help me... I don't want




                                     PSER 52
Case: 13-99001, 04/13/2017, ID: 10395709, DktEntry: 52, Page 55 of 100




to die, but if fliR is the way you want m ^ ^ o come home, I'm

ready."     Trudy also pleaded with the Sansing children to get her

help.     She begged them to call the police and call 9-1-1, but the

defendant interceded and directed the children to go to the living

room and watch television.    Trudy also begged the defendant not to

hit her after she had loosened her bindings.     He hit her anyway.

Trudy's pleas for help, her prayers and begging for her life so

upset the children that they cried and sought solace from their

mother.      Trudy's pleas, even more than the victim's pleas in

Medina, constitute cruelty.

        The evidence is clear beyond any reasonable doubt that Trudy

Calabrese experienced significant physical pain before she was

rendered unconscious by repeated blows to her head with a wooden

club.     At autopsy she was found to have defensive wounds on her

hands. She had been tied so tightly with ligatures of electrical

cords that marks were clearly evident on her wrist and ankle.    Her

frenulum was detached and her face showed unmistakable proof of a

beating.    When coupled with the evidence she was "body slammed" to

the ground, there is proof beyond a reasonable doubt that Trudy

Calabrese suffered physical pain.      Defendant's own statement to

Victoria Harker of the Arizona Republic is very important: "She was

suffering.     I wanted to end it.    I wasn't playing God.   I just

couldn't handle seeing the condition she was in." He also told Ms.

Harker: "Once I attacked her, I had to finish it up because I was

going to jail anyway..."




                               PSER 53
Case: 13-99001, 04/13/2017, ID: 10395709, DktEntry: 52, Page 56 of 100




     The defendan^R own statements prove t m            Trudy Calabrese

suffered physical pain which he claims led him to finish her off to

alleviate her suffering.

     The defense contention that the State has failed to prove

cruelty beyond a reasonable doubt because Trudy may have been

unconscious at certain points has no basis in fact or law.               In

State v. Dierf, 191 Ariz. 583, 959 P.2d 1274 (19-98), the Arizona

Court held:

             "This court has found, however, that
             evidence that a victim was bound
             signifies consciousness. There is no
             reason to bind an unconscious person
             who offers no resistance."


     In the case at bar, Trudy Calabrese was conscious at the time

she was bound.    She struggled to loosen her bindings which resulted

in a beating. This constitutes cruelty.

     The   clear and    uncontroverted     evidence   proves   beyond   any

reasonable    doubt   that after   being   knocked    unconscious, Trudy

regained consciousness and actually talked with the defendant as he

sexually assaulted her.     Kara Sansing observed the sexual assault

and heard the conversation between her husband and the victim.          The

victim was conscious at that point.        Kara also testified that the

victim was conscious when stabbed by the defendant, pleading with

him not to do it.     Kara Sansing's testimony is credible and proves

cruelty beyond a reasonable doubt.

     Trudy Calabrese was stabbed three times in the abdomen.            Kara

Sansing described one of those stab wounds. She said the defendant




                               PSER 54
Case: 13-99001, 04/13/2017, ID: 10395709, DktEntry: 52, Page 57 of 100




was "grinding" th^Ptnife
                IVI:     into Trudy's abdomen^K she lay helpless

on the floor, undressed and hogtied.

     The evidence is uncontroverted that the stab wounds inflicted

upon Trudy by the defendant would not have caused guick or sudden

death.   To the contrary, Dr. Fischione testified that death would

take some time, perhaps minutes.     In State v. Bolton, 182 Ariz.

290, 896 P.2d 830 (Ariz. 1995), the Arizona Supreme Court addressed

the issue of cruelty and fatal stab wounds.          Finding that the

defendant should have reasonably foreseen the victim's post-wound

suffering, the Arizona Supreme Court stated:

          '•''The fatal wound was a stab wound.
          Defendant must have known, or at least
          should have known, that the wound would
          be painful and that the victim would
          not die immediately."

     The defense argues that the sexual assault committed upon

Trudy Calabrese by John Sansing was not cruel, heinous or depraved.

Remember, the victim had already been "body, slammed" to the floor,

beaten about the face and head, hogtied so tightly that marks'were

left on her appendages and then undressed and sexually assaulted in

front of the defendant's wife.    The defendant sexually assaulted

Trudy in the bedroom while his children watched television nearby.

     The Arizona Supreme Court addressed issues of sexual assault

in death penalty litigation in State v. Schackart, Id. Therein the

Arizona Supreme Court stated:

           "Although we .are unwilling to say that
           all stranglings are per se cruel, or
           that all killings involving a sexual
           assault automatically qualify under
           (F)(6), we are persuaded that the
           cruelty finding was appropriate under




                              PSER 55
Case: 13-99001, 04/13/2017, ID: 10395709, DktEntry: 52, Page 58 of 100




                      t facts. The events of tr?w
            tragic afternoon were sufficiently
            connected   to   be   considered    one
            'transaction' .   The length of time
            Charla (the victim) was held in the
            motel room, the presence of a gun, the
            sexual assault, the discussion about
            tying her up or drugging her, the blow
            to her head, the strangling, and her
            inevitable   uncertainty    about   her
            ultimate fate all support the court's
            finding that this murder was especially
            cruel."
        As this Court can easily discern, many of the facts and

circumstances of Schackart are present in the case at bar.

        The Arizona Supreme Court considered sexual assault as an

aggravating factor in State v. Dierf, 191 Ariz. 583, 959 P.2d 1274

(1998) .    In Dierf, the Court found that the sexually assaulted

victim suffered uncertainty and anguish about her fate from the

time she was forced into a bedroom, bound and gagged.    In Djerf, as

in the case at bar, the victim struggled against her restraints.

The Court found that the victim was conscious after having been

bound    and this proved    uncertainty as to fate, an element of

cruelty.

        In the case at bar, Trudy Calabrese struggled mightily against

her restraints.     She struggled so strongly that the defendant hit

her in the head with a club.     She begged him not to hit her again.

As in Djerf, the State has proved beyond a reasonable doubt that

the     killing was committed in an especially cruel, heinous or

depraved manner.

        The Arizona Supreme Court has also considered whether the

sexual assault of a homicide victim constitutes aggravation in




                               PSER 56
Case: 13-99001, 04/13/2017, ID: 10395709, DktEntry: 52, Page 59 of 100




                >^TAriz. Adv. Rep. 36, 973 P^TO
State v. Sharp, 2^TAriz.                   P^R 1171 (1999).       In

Sharp, the trial court found beyond a reasonable doubt that the

victim suffered physical and emotional pain as a result of sexual

assault and murder.   The Sharp Court noted:
           "This Court previously has upheld a
           finding of cruelty when a defendant
           sodomized a victim and then strangled
           him to death*** The evidence here
           established beyond a reasonable doubt     "')
           that the victim was conscious and
           suffered physical pain while she was
           brutally    beaten,    sodomized    and
           ultimately strangled.       The victim
           incurred defensive wounds and scratched
           Appellant in a vain attempt to defend
           herself showing that she anticipated
           her horrible fate and suffered mental
           anguish during the attack."

     The facts in Sharp are not dissimilar to the facts in the case

at bar.    Trudy Calabrese also suffered when she was sexually

.assaulted. The' defense contention that the sexual assault does not

prove cruelty, heinousness or depravity is simply incorrect.

     II.   HEINOUS AND DEPRAVED

     The senselessness of the murder and the helplessness of the

victim are not the only factors the State alleges to establish

heinousness and depravity. The Court must consider the totality of

the circumstances and must remember that a Good Samaritan was

viciously restrained, raped and beaten, then stabbed multiple times

while four young children were in the same house, close by.     The

defendant's evil character is best exhibited by his senseless and

vicious beating of this hogtied Good Samaritan while his children

watched.   His actions profoundly impacted his children as evidenced




                              PSER 57
Case: 13-99001, 04/13/2017, ID: 10395709, DktEntry: 52, Page 60 of 100




                mm
by their crying I V their questions to thei^fnc
                                       thei^^nother asking why

their father would do such a thing.

     The defendant also engaged in gratuitous violence, another

Gretzler factor.   He clearly used more force than was necessary to

kill Trudy and he used multiple weapons to inflict murder.       He

could have committed the robbery that he so carefully planned

without resort to restraints, beating, sexual assault, stabbing or

murder.   He could have taken Trudy's money without resort to the

horrendous acts that followed.    His use of multiple weapons, the

fury of his beating, the sexual assault, and the repeated stab

wounds constitute gratuitous violence.

     The defendant also intended to eliminate a witness.    This has

been proved true beyond a reasonable doubt by Kara         Sansing's

testimony.   While he was sexually assaulting      the victim, the

defendant told Kara that it must look like a robbery/rape/murder.

This statement proves that he knew that Trudy would be able to

testify about his actions and that he intended to kill her and make

it look like someone else' did the crime.

     Heinousness and depravity have been proved beyond a reasonable

doubt.

B.   PECUNIARY GAIN

     On page 6, line 3 of the defendant's sentencing memorandum the

defense tells this Court: "The defendant's initial intent was to

rob the victim." The State concurs that the defendant did intend to

rob Trudy Calabrese and did in fact rob her.   The defendant planned

the robbery with the assistance of his wife in front of their four




                             PSER 58
Case: 13-99001, 04/13/2017, ID: 10395709, DktEntry: 52, Page 61 of 100




children.         twi less than two dollars ^R>m her.
              He stoPi                                          He took

Trudy's jewelry which he hawked for drugs.       But perhaps the most

telling evidence of defendant's intent to rob the victim came from

defendant's own mouth after he had committed these unspeakable acts

when he was asked by his son Joseph why he had done this to the

church lady.    The defendant told Joseph: "I just,wanted money."

       "[Wjhen the defendant comes to rob, the defendant expects

pecuniary gain and this desire infects all other conduct of the

defendant."    State v. LaGrand, 153 Ariz. 21, 35, 734 P.2d 563, 577

(1987) .

       The defense argues- that this case is governed by•State v.

Medina, Id.     In point of fact this case is distinguishable from

Medina because robbery permeated John Sansing's every action.- There

was no attenuation between the kidnaping, robbery and murder of

Trudy Calabrese as there was in Medina.      The defendant's murder of

Trudy Calabrese was all part of his scheme to rob her.         Once she

arrived at his house (at his request) bringing food for his hungry

children, he "body slammed her" to the floor and utilized his wife

(one son was asked to bring defendant a cord) to assist in hogtying

the victim so he could rob her.       He moved her truck so as to

prevent discovery of her whereabouts.      In his own words to his wife

Kara, the sexual assault was part of the plan to make this look

like    a   robbery/rape/murder.   Trudy    Calabrese   lay   helplessly

restrained inside the defendant's home during this entire horrific

episode.     The murder of Trudy Calabrese directly flowed from the

defendant's scheme to rob her.      As such, the State has proved




                               PSER 59
Case: 13-99001, 04/13/2017, ID: 10395709, DktEntry: 52, Page 62 of 100




                sSRioubt that
beyond a reasonab^Rioubt that pecuniary
                              pecuniary gain wres a motive for the
                                        gain W
murder.
C.     PRIOR SERIOUS OFFENSE CONVICTION

       The defense argues that this aggravating circumstance has not

been proved true because no Arizona Court has upheld the finding

when the offenses are committed upon the same victim during the

same course of events.      Regardless of the defendant's contentions,

this   aggravating     circumstance   is present   as reflected   in the

language of Gretzler and Lee (both cited in the State's opening

memorandum).

       The Gretzler Court held that the Arizona death penalty is not

a recidivist or enhancement statute.         Gretzler further held that

any conviction entered prior to a sentencing may be considered,

regardless of the order in which the underlying crime occurred or

the order in which the convictions were entered.

       The Lee Court expanded Gretzler by holding          the Gretzler

decision applicable to prior convictions as well as simultaneous

convictions.

       This aggravating circumstance has been proved true beyond a

reasonable doubt.
                                MITIGATION

       I.   CAPACITY

       The defendant carefully planned this entire robbery.       He lured

Trudy Calabrese to his home using his hungry children as bait to

ensnare a helpless Good Samaritan.




                                      10




                                 PSER 60
Case: 13-99001, 04/13/2017, ID: 10395709, DktEntry: 52, Page 63 of 100




     The defendanw.new very well what he was^noing.               During his

murderous reign of terror, he continuously looked out the windows.

He was looking out the windows because he feared he would be found

out and caught.

    'The defendant moved Trudy Calabrese's truck from the front of

his home and hid it at a business, so as to misdirect attention

from himself.

     The defendant        planned   to   rape and   kill Trudy    so as to

misdirect attention from himself.

     All     of   these     actions      show   premeditation,     planning,

consciousness, and attention to detail that obviate any influence

by drugs.     The fact that defendant was a cocaine user doesn't

explain or excuse his actions, not one iota.

     II.    AGE

     The defendant argues that his age of 31 years is mitigating.

The State alleges it is not. The State is unaware of any Arizona

court holding this advanced age to be mitigating.

     The United States Court has upheld imposition of the death

penalty to those age 16 or greater.         Stanford v. Kentucky, '492 U.S.

361, 109 S.Ct. 2969, 106 L.Ed.2d 306 (1989).         Arizona Courts, when

assessing this mitigating circumstance, look at the defendant's

level of maturity, judgement, past experience and involvement in

the crime.    State v. Bolton, 182 Ariz. 290, 314, 896 P.2d 830, 854

(1995) .

     The defendant in Bolton was 19 years of age.           Id.   The Court

found his age to be mitigating, but placed little weight upon it in




                                    PSER 61
Case: 13-99001, 04/13/2017, ID: 10395709, DktEntry: 52, Page 64 of 100




view of the defeWnt's prior record and th^^ieliberate way he

carried out the killings.

     Arizona Courts also look to evidence supporting a connection

between age and lack of judgement.             See State v. Salazar, 173 Ariz.

399, 844 P.2d 566 (1992) .

     The defendant for years had led an adult lifestyle, replete

with drug use and exposure to the criminal justice system (Utah

arrest for assault).          He married and had four children. There is no

evidence here of youthful intemperance.             Instead, there i's evidence

of a very premeditated act.            There is no mitigation in his age of

31 years.

         III. DYSFUNCTIONAL FAMILY

     A      difficult    or    dysfunctional      family   background       is   not

necessarily a mitigating circumstance.             Unless the defendant shows

that something in his background affected his behavior, in a manner

beyond his control, the defendant has failed to prove mitigation.

State v. Spears, 184 Ariz. 277, 908 P.2d 1062 (Ariz. 1996).                       In

Spears much more evidence of a dysfunctional, abusive childhood was

presented than in this case.             In Spears a clinical psychologist

testified that the defendant suffered physical and emotional abuse

as   a    child.    His       father   drank    too much   and   was    a    strict

disciplinarian.         The father beat the defendant frequently.                The

psychologist diagnosed the defendant with post-traumatic stress

disorder that was subject to being retriggered.              When retriggered,

it caused the defendant to act impulsively and irrationally.




                                         12




                                       PSER 62
Case: 13-99001, 04/13/2017, ID: 10395709, DktEntry: 52, Page 65 of 100




     The Supreme ^Kr
                 BRIrt dismissed Spears' cont^Kion of mitigation

and found that the defendant's actions were planned and deliberate,

not impulsive.      The Spears Court upheld that the trial court's

decision to give defendant's background minimal weight was correct.

     In    the   case   at   bar   there   is even   less   evidence   of a

dysfunctional family than in Spears.           Clearly there is nothing

about the.defendant's upbringing that could explain his vicious,

premeditated and unprovoked attack on Trudy Calabrese.

     IV.    LACK OF EDUCATION

     There is nothing about the defendant's education, or lack

thereof, which bears upon his actions in this case.            The fact he

chose to drop out of school certainly does not explain nor justify

his murder of Trudy Calabrese.

     V.    DANGEROUSNESS, REHABILITATION AND CHANGED LIFE

     The State will address all these' allegations in unison.           The

defendant remains dangerous. The defendant continues to blame'his

conduct on drugs. This is a cop-out. The defendant's actions were

not those of an intoxicated individual.        Instead, his actions were

planned, premeditated and thought out.

     The defendant is now attempting to use his own children as

leverage against the death penalty.         It was the defendant himself

who exposed his children to the most barbaric, horrific, acts

imaginable.      Now he has the audacity to ask this Court for mercy

because of the children he put at emotional risk.           There can be no

mitigation here.




                                      13




                                   PSER 63
Case: 13-99001, 04/13/2017, ID: 10395709, DktEntry: 52, Page 66 of 100




      The          e^Rj
             defense^Klleges        that    the   death ^^enalty      would    be

devastating to the children, but where is the proof?

      VI.   VICTIM'S POSITION

      Counsel and Court are well aware of the holding of the Arizona

Supreme Court in State v. Trostle, 191 Ariz. 4, 951 P.2d 869

(1997) .

      Undersigned counsel for the State informed the Court and

defense     counsel   of   the   holdings    of Trostle    prior   to    taking

evidence.     Trostle holds that the trial court should not consider

the victim's request for leniency in the form of a life sentence as

opposed to death.      Requests of victims 'for death or leniency are

irrelevant to the considerations under A.R.S. §13-703 (C) and (D).

See also A.R.S. §13-703.

      Nevertheless, the defense has chosen to ignore the holding of

the   Arizona    Supreme    Court     and    statutory    enactment     by    our

legislature.     The defense attempts to gain support for their plea

for leniency via the ten year old daughter of the victim.                     The

action of the defense in this regard is clearly contrary to law and

a transparent emotional appeal to the court's sympathies.                    While

Appellate Courts require "zealous advocacy", they do not allow nor

permit ignoring clear holdings of the highest court in the State,

nor abandonment of statutory enactments.

      There is no relevance to this allegation, and there is no

mitigation.




                                    PSER 64
Case: 13-99001, 04/13/2017, ID: 10395709, DktEntry: 52, Page 67 of 100




     VII. REMORSE^^                             ^

     Defense counsel, on page 19 of their sentencing memorandum

state:
           "Counsel undersigned has had numerous
           conversations with John Sansing since
           February of 1998. We believe that his
           remorse      and     acceptance    of
           responsibility   are    complete  and
           absolutely genuine."

     Counsel's vouching for the sincerity of a convicted robber,

rapist and murderer does not suffice for evidence proving his

remorse.   The defendant's own rambling statements to the Court

should convince this Court that his true motivation is avoiding the

death penalty.

     Defense counsel admit that Mr. Sensing cannot undo the pain

and suffering he inflicted upon the Calabrese family, yet add to

that pain and suffering by attempting to leverage the feelings of

Trudy's ten year old little girl into irrelevant considerations of

death'penalty.   Rather than John Sansing accepting responsibility

and meeting his fate head on, the defense has stooped to asking for

mercy because of defendant' s own children (whom he subjected to

unspeakable acts of terrorism) and by proffering feelings of the

victim's ten year old daughter in spite of law to the contrary. The

State submits there is- no mitigation here.

                            CONCLUSION

     The State has proved three aggravating circumstances beyond a

reasonable doubt.   The mitigation,- if present at all, is woefully

inadequate to overcome the aggravation.       Therefore, the State



                                15




                             PSER 65
Case: 13-99001, 04/13/2017, ID: 10395709, DktEntry: 52, Page 68 of 100




requests that thrPrCourt impose the death pWalty, pursuant to

A.R.S. §13-703.

     Submitted September               L999.

                                  RICHARD M. ROMLEY
                                  MARICOPA COUNTY ATTORNEY


                                  BY     vp_
                                    William K. Culbertson
                                     Deputy County Attorne


                                  BY       UTAEE
                                       Vince imbordino
                                       Deputy County Attorney


Copy of the foregoing
ma iled\ de-live rod this
 23rd day o f September, 1999,
to:
The Honorable Ronald Reinstein
Judge of the Superior Court

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Deputy Public Defender
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  WilliamUK. Culbertson(J
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  Vince Iirfcordinc
  Deputy County Attorney
WKCrtlr
reply-se.mem




                                 PSER 66
 Case: 13-99001, 04/13/2017, ID: 10395709, DktEntry: 52, Page 69 of 100




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            IN THE SUPERIOR COURT OF THE STATE OF ARIZONA

                     IN AND FOR THE COUNTY OF MARICOPA


 STATE OF ARIZONA,
                                           NO. CR 98-03520(A)
                    Plaintiff,
                                           STATE'S SENTENCING MEMORANDUM
             vs .                          RE: DEATH PENALTY

 JOHN EDWARD SANSING,                      (Assigned to the Honorable
                                           Ronald Reinstein)
                    Defendant.


      The State of Arizona, by and through undersigned counsel,

 submits   this sentencing memorandum         in support      of the State's

 request for the maximum punishment of the death penalty, pursuant

 to A.R.S. § 13-703.
                                                IHTL
                        Submitted September           1999

                             RICHARD M. ROMLEY
                             MARICOPA COUNTY ATTORNEY

                                 BYAp
                                   Willfam K. Culbertson
                                    JilliamCounty At/torney
                                    Deputy


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                                   Deputy County Attorney
                                                                                       ®

                                    PSER 67
Case: 13-99001, 04/13/2017, ID: 10395709, DktEntry: 52, Page 70 of 100




                        •
                     MEM31RNDUM OF POINTS AND A U T H O R I T I E S
                       MgiRNDl
        The AGGRAVATION is as follows:

        (A)    The   defendant     committed   the offense      in an       especially

               heinous,    cruel    or depraved manner.          A.R.S.       §   13-703

               (F) (6) ;

        (B)    The defendant committed the offense as consideration for

               the receipt, or in the expectation of the receipt, of

               anything of pecuniary value.          A.R.S. § 13-703          (F) (5) ;

        (C)    The defendant has been previously convicted of a serious

               offense.      A.R.S. § 13-703 (F)(2).

     The       State   submits     the   attached   Memorandum        of    Points    and.

Authorities in support of           the Court's finding of these aggravating

circumstances.

        I. STATEMENT OF FACTS

     On February 24, 1998, Defendant John Edward Sansing placed a

telephone call to a church and asked for food to be delivered to

his home for his four minor children.               The church passed Sansing's

request       to Trudy Calabrese, a church member who organized                      food

drives    to    feed   hungry    children.      After    speaking      to    Defendant

Sansing by telephone, at approximately 4:00 p.m. on February 24,

1998, Trudy Calabrese drove,her truck to 3846 West Alice, the home

in which Sansing, his wife               (co-defendant) Kara Sansing and four

children resided courtesy of another church.

        Prior to Ms. Calabrese's arrival, Defendant John Sansing told

his wife he planned to rob the church lady when she arrived with

food.     He solicited Kara's help and told her how he was going to




                                         PSER 68
Case: 13-99001, 04/13/2017, ID: 10395709, DktEntry: 52, Page 71 of 100




rob the church laJ^^       The four Sansing childi^m were present and

heard the Defendant's discussions about robbing the church lady.

        At approximately 4:10 p.m. that day Trudy Calabrese arrived at

the Sansing home.      It was a cold, rainy February day.    After she

delivered the food, Ms. Calabrese was in the process of having John

Sansing sign a receipt when he snuck up behind her. and grabbed her.

in a bear hug, then "body slammed" her to the floor.      Once she was

on the floor, the Defendant secured Trudy's hands behind her back

using electrical cords.      Defendant John Sansing told his wife, co-

defendant. Kara Sansing, to tie the victim's ankles.      Kara Sansing

tried, but was unable to do so because Trudy was kicking and

resisting.     John Sansing then secured Ms. Calabrese's wrists and

ankles using a power cord from a vacuum sweeper.

        Ms. Calabrese resisted their efforts to restrain her as best

she could.     Trudy kicked at Kara Sansing, prohibiting Ms. Sansing

from restraining her. She fought valiantly to get free from her

captors.     She failed.

     Once John Sansing secured Ms. Calabrese's ankles and wrists,

Ms. Calabrese continued to struggle and succeeded in loosening her

restraints.     The Defendant told her to stop resisting or he would

hit her, and then the Defendant did hit Trudy in the head with a

club.     The club was recovered by police and is in evidence. The

force' Defendant used to strike Ms. Calabrese' in the head was so

substantial that the club broke into two pieces.

        Dr. Mark Fischione testified    that there were     substantial

injuries caused to Trudy Calabrese's head which were consistent




                                PSER 69
Case: 13-99001, 04/13/2017, ID: 10395709, DktEntry: 52, Page 72 of 100




with injuries that^Kuld be caused by that club^^ The damage to Ms.

Calabrese included injuries to her face, particularly around her

left eye.   Her frenulum was detached.     She suffered blows to the

.back of the head that were administered with such force that she

suffered a focal subarachnoid hemorrhage.

     After John Sansing beat Trudy Calabrese with a club, he moved

her truck to a different area so it would not pinpoint her location

at the Sansing home. When he returned from parking the truck, John

Sansing moved Trudy Calabrese, who was still bound by her wrists

and ankles, to the master bedroom where he undressed her - and

sexually assaulted her.

     Co-defendant Kara Sansing watched as her husband sexually

assaulted Trudy.   Kara saw the defendant place his penis inside of

the victim's vagina.      Kara heard the victim and the defendant

talking to each other during the sexual assault.          Kara testified,

that Ms. Calabrese was still tied up and restrained at the time she

was sexually assaulted.

     Next, the Defendant stabbed Trudy Calabrese three times in the

abdomen.    Kara   Sansing observed    Defendant   stab   Trudy   on one

occasion.   Kara saw the defendant "grinding" the knife into the

victim's abdomen to get further penetration.

     Dr. Mark Fischione testified that all the wounds to the victim

certainly caused pain.    He also testified that the stab wounds did

not cause death quickly.    These wounds required a period of time

 (perhaps minutes) to cause death.    After he murdered her, Defendant




                              PSER 70
Case: 13-99001, 04/13/2017, ID: 10395709, DktEntry: 52, Page 73 of 100




left Trudy's body ^^the bedroom and covered he^^rith clothes. All

four Sansing children saw Trudy's body in that location.

     The Defendant accomplished his plan to rob the victim.      After

she was restrained, he stole approximately one dollar and 50 cents

from her.   When asked by one of his children why he had attacked

the church lady, he told his son he did it for money.

     After he killed Ms. Calabrese, the Defendant twice removed

jewelry from her body and traded her jewelry for crack cocaine.

The drug dealers with whom he dealt were individuals well known to

the family.    They came to the home and the drug transactions

occurred while the children were in the home.

     Throughout this horrific ordeal, the Sansing children were

witnesses to a great deal of their father's actions.    They saw him

restrain Trudy.   They saw him tie her up. They observed him strike

Ms. Calabrese in the head repeatedly.    They also observed her body

in the master bedroom after she had been murdered.     The children

also saw the victim hidden under various items, including a child's

toy, by a shed in the rear of their yard.

     When the victim' s body was found, she was blindfolded and

there were plastic bags over her head held secure by ligatures.

One ligature was a cord, the other was a necktie.

     II. AGGRAVATING FACTORS

     Imposition   of the death penalty    requires aggravating    and

mitigating circumstances to be weighed.     State v. Ross, 180 Ariz.

598, 886 P.2d 1354 (1994) cert, denied, 516 U.S. 878, 116 S.Ct 210

(1995) . The weighing process involves consideration of both the




                               PSER 71
Case: 13-99001, 04/13/2017, ID: 10395709, DktEntry: 52, Page 74 of 100




                 tlRc of aggravating and initiating factors, not
quality and the st^wigth

simply the number of same.        State v. Willoughby, 181 Ariz. 530, 892

P.2d 1319 (1995), cert, denied, 116 S.Ct. 725 (1996).                     The state

must prove beyond a reasonable doubt the existence of aggravating

circumstances enumerated in A.R.S. §13-703 (F). State v. Gonzales.

181 Ariz. 502, 513, 892 P.2d 838, 849 (1995) cert, denied, 116

S.Ct. 720     (1996).     The defendant must prove the existence of

mitigating    circumstances,      be    they       statutory     or     nonstatutory

circumstances, by a preponderance of evidence.                    Id.     The trial

court shall impose sentence based, on evidence presented at trial

and at the sentencing hearing.          Id.

     Pursuant     to A.R.S.    §13-703(E),          the   court must       impose a

sentence     of   death   if   it      finds       one    or    more     aggravating

circumstances,     and    there      are      no    mitigating         circumstances

sufficiently substantial to call for leniency.                 Arizona courts have

upheld the death penalty when the trial court found only one

aggravating circumstance.      State v. White, 168 Ariz. 500, 815 P. 2d

869, cert, denied, 112 S.Ct. 1199, 117 L.E.2d 439' (1992).

     Although this court could impose death upon finding only one

aggravating'factor,       the State contends that Defendant's actions

satisfy three of the enumerated aggravating circumstances.                        The

proof of each and every one of these aggravating circumstances

substantially     outweighs    the     alleged      mitigation        Defendant   has

offered.

     Although the trial court must consider all mitigating evidence

proffered by the defendant, the trial court has great discretion




                                  PSER 72
Case: 13-99001, 04/13/2017, ID: 10395709, DktEntry: 52, Page 75 of 100




                             ^K><=
about the weight t^^>e - given to alleged mitigawffig factors.                      State

v. Atwood, 171 Ariz. 576, 832 P.2d 593, cert, denied, 113 S.Ct.

1058, 122 L.Ed.2d 364 (1992); State v. Brewer. 170 Ariz. 486, 826

P.2d 783, cert, denied, 113 S.Ct. 206, 121 L.Ed.2d 147, 61 U.S.L.W.

(1992)       (The court found that the defendant's mental impairment,

duress, age, lack of criminal record, upbringing and feelings of

remorse were not sufficient to call for leniency).

        A.         Defendant's murder of Trudy Calabrese was committed in an

                   especially heinous, cruel or depraved manner.             A.R.S. S

                   13-703(F)(6).

        Since the legislature phrased this aggravating circumstance in

the disjunctive, the aggravating circumstance exists when any                        one

of the three conditions are present.                    See   State v. Gretzler, 135

Ariz. 42, 51, 659 P.2d 1, 10, cert, denied, 461 U.S. 971, 103 S.Ct.

2444, 77 L.Ed.2d 1327, reh'g denied,                463 U.S. 1236, 104 S.Ct. 32,

77 L.Ed.2d 1454 (1983);               State v. Ramirez, 178 Ariz. 116, 871 P.2d

237, cert, denied, 115 S.Ct. 435, 130 L.Ed.2d 347 (1994)                    (emphasis

added) .           The Gretzler court noted,

                   [I]t is not necessary that all three
                   elements, heinous, cruel, or depraved,
                   be present in the    murder.        The
                   statutory   expression    is   in   the
                   disjunctive, so either all or one could
                   constitute an aggravating circumstance.

See Gretzler, 135 Ariz, at 51, 659 P.2d at 10 (quoting. State v.

Clark, 126 Ariz. 428, 436, 616 P.2d 888, 896 cert, denied 449 U.S.

1067,        101     S.Ct.     796,   66   L.   Ed.2d     612,   (1980));   State     v.

Gulbrandson, 184 Ariz. 46, 906 P. 2d .579 (Ariz.. 1995), cert, denied,

116 S.Ct 2558          (1996).




                                           PSER 73
Case: 13-99001, 04/13/2017, ID: 10395709, DktEntry: 52, Page 76 of 100




                           upRme Court has c o n c l u d e d tfflre
        A r i z o n a ' s Supieme                             tfflK a k i l l i n g can be

especially cruel,                  removing t h e need t o d i s c u s s w h e t h e r i t i s                   also

e s p e c i a l l y h e i n o u s or depraved.              Ramirez, 178 A r i z , a t 128-29, 871

P.2d a t 259-260.              Sge, a l s o S t a t e v. A p e l t . 176 A r i z . 349, 861 P.2d

634    (1993).         Likewise,           t h e Arizona Supreme Court h a s h e l d t h a t a

killing       was e s p e c i a l l y      depraved,           and d i d n o t        separately           analyze

whether       it    was a l s o e s p e c i a l l y         cruel.         S t a t e v. West,           176 A r i z .

432,     862 P.2d 192, c e r t ,             denied,          114 S.Ct.          1635, 128 L.Ed.2d 358

(1993).            Thus,      should       the      court       find      that       Defendant's           conduct

satisfies          any       one      of    these         three      elements,         this         aggravating

circumstance is sufficiently                           proved.

        Defendant's            conduct           satisfies          all      three         elements        of     the

e s p e c i a l l y h e i n o u s , c r u e l or depraved a g g r a v a t i n g c i r c u m s t a n c e .          It

is    important        to note that t h i s                 k i l l i n g d i d n o t a r i s e o u t of          the

h e a t of p a s s i o n ,     fear,       struggle,          or a t t e m p t t o e s c a p e .         State     v.

Willoughby., I d .           Nor was t h i s murder " a c c i d e n t a l " . 1              This murder was

not    the     result         of     momentary          premeditation,               but     of     Defendant's

deliberate,          c a r e f u l l y c o n c e i v e d , p l a n n e d , and c o l d - b l o o d e d scheme

for    r o b b e r y and v i o l e n c e .       Id.      The murder of Trudy C a l a b r e s e was

ruthless         and     calculated.             Her      death      was     horrific             and    the     acts

Defendant           perpetrated            against           her     can     only      be         described        as

especially          heinous,           cruel        and     depraved.            As    one        court        noted,

..."first          degree          murder      is      by     its    nature          willful,           cruel     and



        'See S t a t e v. Murray, 184 Ariz. 9, 906 P.2d 542 (Ariz. 1995), where the
court noted t h a t t h e r e was no f a c t u a l support for the claim t h a t the deaths
were unexpected or a c c i d e n t a l , and concluded t h a t the evidence was c l e a r t h a t
t h e murders were in furtherance of the goal of pecuniary gain and during the
course of, or f l i g h t from, the robbery.




                                                    PSER 74
Case: 13-99001, 04/13/2017, ID: 10395709, DktEntry: 52, Page 77 of 100




repugnant.           But t r S ^ f a c t s of t h i s case s e t i t; ^^ pp a r t          from t h e norm

of f i r s t    degree murders."               S t a t e v. G r e t z l e r ,   135 A r i z , a t 53,         659

P.2d a t 10 (1983),                 c e r t , denied,      461 U.S. 9 7 1 , 103 S . C t .          2444, 77

L.Ed.2d         1327,     reh'g       denied,          463 U.S.          1236,     104     S.Ct.      32,      77

L.Ed.2d 1454            ( c i t i n g S t a t e v. Brookover,             124 A r i z .     38,    601 P.2d

1322 (1979)) .           The same c h a r a c t e r i z a t i o n in G r e t z l e r a p p l i e s t o t h e

c a s e sub j u d i c e .

        Defendant's            actions         define       and     personify         malignant             evil.

During h i s murder f r e n z y , he l i v e d only for t o r t u r e , r a p e ,                   robbery,

blood        and d e a t h .        Defendant's         actions        amount      to     far     more       than

murder.        His a c t i o n s     were d e s p i c a b l e     and,     fortunately,           unique       to

Arizona's         jurisprudence.

            F i r s t t o be c o n s i d e r e d i s t h e element of c r u e l t y . The c r u e l t y

factor         focuses         on     the      victim' s        pain       and.    suffering,               while

h e i n o u s n e s s and d e p r a v i t y i n v o l v e the k i l l e r ' s mental s t a t e .            State

v. W a l l a c e ,    160 A r i z .     424,     427, 773 P.2d 983, 986                    (1989),          cert,

d e n i e d , 483 U.S. 1011, 107 S.Ct. 3243, 97 L.Ed.2d 48 (1987),                                       aff'd,

494 U . S .      1047,      110 S . C t .      1513,     reh'g denied,             496 U . S .     913,       110

S.Ct.       2607, c e r t : d e n i e d , 499 U.S. 279, 110 S . C t .                   2583, 111 S . C t .

2067        (1990)    (emphasis added) 7                 See a l s o       S t a t e v. G r e t z l e r .     135

A r i z , a t 5 1 , 659 P.2d a t 10 (1983), c e r t , d e n i e d ,                  461 U.S. 971, 103

S.Ct.       2444,77         L.Ed.2d 1327,             reh'g denied,               463 U. S.       1236,       104

S.Ct.       32, 77 L.Ed.2d 1454; S t a t e v. Greenway, 170 A r i z . 155, 166,



        z
       Although the court found that cruelty was not established because the
victims were caught by surprise, the court did find that the defendant's
actions amounted to gratuitous violence and evidenced an especially heinous
and depraved state of mind. State v. Wallace. 151 Ariz. 362, 367, 728 P. 2d
232 (1986), aff'd, 160 Ariz. 424, 773 P.2d 983 (1989).




                                                 PSER 75
Case: 13-99001, 04/13/2017, ID: 10395709, DktEntry: 52, Page 78 of 100




823 P.2d 22, 33 (IWL).                    Thus, t h e q u e s t i o n o f ^ f f e t h e r   Defendant's

k i l l i n g was e s p e c i a l l y c r u e l ,   h e i n o u s or d e p r a v e d b e g i n s w i t h an

examination           of   the      physical        pain     and m e n t a l     anguish       Defendant

caused h i s       victim.

        1 . D e f e n d a n t ' s conduct was e s p e c i a l l y        cruel:

                 a.        A killing is especially                     cruel      when      the    victim
                           experiences pain.

        "A murder           is    especially          cruel      if    the     victim       consciously

e x p e r i e n c e d p h y s i c a l or mental pain and s u f f e r i n g p r i o r t o d y i n g " .

S t a t e v . Murray,        184 A r i z . 9, 906 P.2d 542 ( A r i z .               1995).3

        The a c c o u n t s of t h e Sansing c h i l d r e n ,            t h e t e s t i m o n y of    Kara

S a n s i n g and Dr. Mark F i s c h i o n e , prove beyond any r e a s o n a b l e doubt

t h a t Trudy C a l a b r e s e s u f f e r e d .    Trudy C a l a b r e s e was "body slammed"

t o t h e f l o o r by John Sansing.                He held her down and t i e d her w r i s t s

behind her back.                 Kara Sansing a t t e m p t e d t o t i e           Trudy's       ankles.

When Kara was u n a b l e t o complete her t a s k ,                      John S a n s i n g      finished

" h o g t y i n g " Trudy C a l a b r e s e ,   thereby rendering her t o t a l l y                at    his

mercy.

        The b i n d i n g s were very t i g h t .             The marks on T r u d y ' s body as

d e p i c t e d in s e v e r a l autopsy photographs i n e v i d e n c e c l e a r l y             display


      3
       When considering the issue of cruelty, court's have looked to whether
the victim was conscious during the attack. For example, in State v.
Williams, 183 Ariz. 368, 904 P.2d 437 (Ariz. 1995), the court held that
because the state did not prove beyond a reasonable doubt that the victim was
conscious throughout the attack, cruelty was not found.
      However, the issue of consciousness is easily dispelled in the case at
bar, as there is ample evidence that Trudy was conscious during most of the
attack against her. In State v. Ramirez, 178 Ariz. 116, 871 P.2d 237 (1994),
the court stated, "(clruelty can be established by evidence of a prolonged,
bloody struggle. . ." See also State v, Medrano. 173 Ariz. 393, 844 P.2d 560
(1992). aff'd, in part, reversed in part, 185 Ariz. 192, 914 P.2d 225 (1996).


                                                      10




                                                PSER 76
Case: 13-99001, 04/13/2017, ID: 10395709, DktEntry: 52, Page 79 of 100




                                          2cWlS a result of the
the degree of parw^and suffering she endured^Ts

restraints and ligatures applied to her by John Sansing. Trudy was

rendered    totally     helpless and incapable of defending herself.

Nevertheless, she attempted to escape.         She struggled to loosen her

bindings.     She kicked, but John Sansing hit her in the head-with a

club with sufficient force to break the club and cause substantial

neurological damage.        This stopped Trudy's attempt to escape,

        Trudy begged John Sansing not to hit her, but he hit her even

more.     Dr. Fischione testified that the injuries to her head were

significant.        His testimony proves that these injuries could have

been life threatening.            The beating inflicted by John Sansing

clearly hurt Trudy and caused her great pain and suffering.

     But these were not all of the injuries Defendant caused to

Trudy.     He injured Trudy's face, her lip, and her hands.              The

injuries to her hands are commonly called "defensive wounds."            The

injury to the eye was significant and the autopsy                 and   scene

photographs prove the magnitude of force used by the defendant

against     Trudy    Calabrese.    Her   frenulum   was   detached,   further

indicating a severe beating to the face.

        While Trudy was bound hand and ' foot, the Defendant either

carried or drug her to another room where he proceeded to pull her

pants and panties down to mid-leg and inserted his penis into her

vagina.     Kara Sansing watched this sexual assault and heard the

victim talking to the defendant while he raped her.             Surely this

act of sexual assault was demeaning, painful and cruel.




                                    PSER 77
Case: 13-99001, 04/13/2017, ID: 10395709, DktEntry: 52, Page 80 of 100




     The DefendarW^stabbed Trudy Calabrese ^PTree times with a

butcher knife. Kara Sansing testified that Trudy Calabrese pleaded

"please don't." Instead, the Defendant stabbed her three times, on

one occasion "grinding" the knife to get further penetration.    We

know that her death from the stab wounds was not instantaneous.

Dr. Fischione testified that it would take some time for her to

expire from these injuries.   These injuries surely caused Trudy to

experience pain and suffering.

     At some point the victim was blindfolded, bags were placed

over her head and ligatures and cords were tied around these bags.

     We know that Trudy Calabrese suffered physical pain by the

nature of her injuries as depicted by photography, and by the

testimony of Dr. Fischione. We also know that she suffered cruelty

at the hands of the defendant by what the Sansing children saw and

heard, and by what Kara Sansing saw and heard.        Finally, and

perhaps most importantly, we know that Trudy Calabrese suffered

physically at the hands of.John Sansing by what she said and what

she did; and by what Defendant said.    The Defendant told Arizona

Republic reporter Victoria Harker that Trudy was suffering so he

ended her life, because he couldn't handle seeing the condition she

was in.

     There can be no doubt that Trudy Calabrese suffered extreme

physical pain.   Cruelty has been proved beyond a reasonable doubt.


          b.     A killing is especially cruel where the victim
                 experiences mental anguish prior to the moment of
                 death.



                                 12




                              PSER 78
Case: 13-99001, 04/13/2017, ID: 10395709, DktEntry: 52, Page 81 of 100




      The Gretzler^rourt noted, " [O]ur concept^cf cruelty involves

not only physical pain, but also mental distress visited upon the

victims."   Gretzler 135 Ariz, at 51, 659 P.2d at 10. "Psychological

pain may be the equivalent of the most severe physical torture."

State v. Greenway, 170 Ariz, at 165, 823 P.2d at 32 (1992).

      Arizona courts have held that victims do not have to be

physically tortured for a murder to be especially cruel.         State v.

Lopez, 175 Ariz. 407, 411, 857 P.2d 1261, 1265, cert, denied, 114

S.Ct. 1578, 128 L.Ed.2d 221 (1993).       A killing is especially cruel

if the defendant inflicts mental anguish before the victim dies.

See   State v. Ramirez, 178 Ariz. 116, 871 P.2d 237, cert, denied,

115 S.Ct. 435, 130 L.Ed.2d 347 (1994);         State v. Apelt, 176 Ariz.

349, 861 P.2d 634 (1993);      State v. Schurz, 176 Ariz. 46, 859 P.2d

156   (1993).      A killing   is especially    cruel   when   the victim

experiences uncertainty over their ultimate fate, and where there

is a period of time between the victim's capture by the perpetrator

and ultimate death.     See    State v. Herrera(Jr.), 176 Ariz. 21, 859

P.2d 131    (1993) cert, denied, 114 S.Ct. 398          (1993); State v.

Herrera (Sr.). 176 Ariz. 9, 859 P.2d 119 (1993) cert, denied, 114

S.Ct. 446 (1993).     A time lag between the defendant's overpowering

of a victim and the victim's death has been held to constitute

cruelty, since      the victim has suffered mental anguish prior to

•death.   Id.      In Herrera(Jr. ) , the victim was a deputy sheriff.

The   defendants    fought with him and     caused him to fall down.

Herrera I Jr.) , 176 Ariz, at 25-26, 859 P.2d at 135-36.          During a

brief struggle, the officer's revolver was taken from him and



                                     13




                                 PSER 79
Case: 13-99001, 04/13/2017, ID: 10395709, DktEntry: 52, Page 82 of 100




defendants orderecWiim to get on the ground, ^ ^ d .       His radio was

also taken and it was used to hit the officer in the head.       Id. One

of the defendants pointed the revolver at him as the officer begged

for his life.       Id.   The testimony indicated that the deputy lay in

that position for 18 seconds before he was shot.          Id.   This was

held to constitute cruelty since he suffered mental anguish prior

to death.     Id.

     The evidence before this court, supplies much more evidence of

cruelty than in Herrera (Jr.).         Trudy was restrained, tortured,

bound, gagged, sexually assaulted and then murdered over the course

of an hour.     Accordingly, the cruelty in the case sub judice is

much greater than the cruelty found to constitute an aggravating

circumstance in Herrera (Jr.) because Ms. Calabrese experienced

uncertainty as to her ultimate fate for much longer than the victim

in Herrera•

     In State v. Lopez, evidence that the victim was conscious for

the three to fifteen minutes that it took the defendant to kill her

proved that she suffered mental anguish over her ultimate fate, and

this was found to be especially cruel.        State v.' Lopez, 175 Ariz.

407, 857 P.2d 1261, cert, denied, 114 S.Ct. 1578, 128 L.Ed.2d 221

 (1993).    As one court has commented, "[i]t was not only the manner

of death, but also the circumstances surrounding it and their

effect on the victim that amply warrant the finding of cruelty,"

State v. Layers, 168 Ariz. 376, 392, 814 P.2d 333, 349, cert.

denied. 502, U.S. 926, 112 S.Ct. 343, 116 L.Ed.2d 282 (1991),

quoting, state v. Gillies, 142 Ariz. 564, 570, 691 P.2d 655, 660-61




                                  PSER 80
Case: 13-99001, 04/13/2017, ID: 10395709, DktEntry: 52, Page 83 of 100




(1984), cert. d e m W , 470 U.S. 1059, 105 S.Ct.W75, 84 L.Ed.2d 834

(1985) .

      There    is   abundant       and   irrefutable     evidence   that   Trudy

Calabrese     suffered     significant mental anguish         (in addition to

physical pain) at Defendant's hands, thus firmly establishing the

existence     of this aggravating          circumstance.      Defendant caused

mental anguish to her because she could anticipate death and she

was conscious during all, or at least a good part, of the attack

against her.

      It is beyond dispute that Trudy Calabrese suffered mental

anguish at the Defendant's hands.               She could anticipate death from

the moment that she was restrained until the time approximately one

hour later when she was fatally stabbed three times in the abdomen.

In   the   interim,   we    know    from    the physical     evidence   and   the

testimonial evidence provided by the Sansing children and Kara

Sansing, that Defendant's actions created a justifiable and very

real fear by Trudy that she would be murdered.              Trudy's response to

John Sansing's actions was to beg for help.               She begged "God, just

help me."-

      Trudy also begged the Sansing children to call 9-1-1 and to

call police.     Defendant told them to watch TV. The children were so

upset by her begging and pleading that they cried.

      Kara testified that she heard Trudy pray, to the effect: "I

don't want to die, but if this is the way you want me to come home,

I'm ready."




                                           15




                                     PSER 81
Case: 13-99001, 04/13/2017, ID: 10395709, DktEntry: 52, Page 84 of 100




     We also know ™ t    Trudy agonized over her ^n:e by her attempts

to free herself.     During one attempt the Defendant told her that he

would hit her in the head if she made a move.              She continued to

squirm and kick and he hit her again with a club.

     Dr. Fischione testified that once the fatal stab wounds had

been administered, Trudy did not die immediately.             It took some

period of time, perhaps minutes, for her to die.

     We know from the Defendant's own mouth that Trudy suffered.

The parties stipulated to statements made by the Defendant to

Arizona Republic writer Victoria Harker.               He said: "She was

suffering.    I wanted to end it.       I wasn't playing God.        I just,

couldn't handle seeing the condition she was in."

     There can be no doubt that Trudy Calabrese suffered extreme

mental cruelty and she agonized over her fate for an hour or more

while held captive to the ruthless and sadistic demands and actions

of John Sansing.

     In summary, the Defendant lured this Good Samaritan to his

home under the ruse of providing food for his children.             All the

while he planned to rob her.        When she arrived, he tied her up,

held her hostage for more than an hour, bound her, gagged her,

blindfolded   her,    beat   her   repeatedly   with   a    club,   sexually

assaulted her, stabbed her multiple times, and placed plastic bags

and ligatures over her head and neck.       The evidence of cruelty is

overwhelming. This aggravating circumstance has been proved beyond

a reasonable doubt.




                                   PSER 82
Case: 13-99001, 04/13/2017, ID: 10395709, DktEntry: 52, Page 85 of 100




      2 . Defendant^y conduct was especially h^ffbus or depraved:

      The "... statutory concepts of heinous and depraved involve a

killer's vile state of mind at the time of the murder, as evidenced

by the killer's actions."      Gretzler 135 Ariz, at 51, 659 P.2d at

10.     The    heinous, and   depraved   circumstance    focuses    on   the

Defendant's mental state and attitude at the time of the killing as

evidenced by his words or actions.       State v. Gulbrandson, 184 Ariz.

46, 67, 906 P.2d 579, 598 (1995).        Heinous has been defined as ".

. .hatefully or shockingly evil. . ." and "depraved" as marked by

debasement, corruption, perversion or deterioration."              State v.

Knapp, 114 Ariz. 531, 543, 562 P.2d 704, 716 (1977) cert, denied,

435 U.S. 908, 98 S.Ct. 1458 (1978).

      In Gretzler the court articulated five factors which establish

an especially heinous or depraved killing.         Id. at 52.       Several

subsequent Arizona cases have reaffirmed the Gretzler factors.           See

State v. Barreras, 181 Ariz. 516,' 521, 892 P.2d 852, 857 (1995);

State v. Williams, 183 Ariz. 368, 904 P.2d 437 (Ariz. 1995).

The Barreras court noted,

              Although the Gretzler factors are not
              absolutely exclusive . . . they provide
              a consistent and rationally reviewable
              standard for the otherwise vague (F)(6)
              "especially heinous, cruel or depraved"
              factor, thus ensuring the continuing
              constitutionality of our death penalty
              statute     and     facilitating     our
              independent review ... We therefore
              urge trial courts- to apply the Gretzler
              standards    when    considering    this
              aggravating circumstance.


Barreras, 181 Ariz, at 521, 892 P.2d at 857.


                                    17




                                PSER 83
Case: 13-99001, 04/13/2017, ID: 10395709, DktEntry: 52, Page 86 of 100




     The       Gretzle^^ourt       held    that   h e i n o u s n e W and    depravity    is

proved    by    a   showing   that    either:     (1) the      killer        relished    the

murder,    (2) the defendant          inflicted      gratuitous       violence     on    the

victim,    (3) the defendant needlessly mutilated the victim,                      (4) the

killing was senseless, and            (5) the victim was helpless. State v.

Gretzler, 135 Ariz, at 51, 659 P.2d 1, 10                    (1983).        An additional

factor focuses on whether defendant's motivation for the killing

was to eliminate a witness.            See State v. Greenway, 170 Ariz. 155,

823 P.2d 22 (1991).; State v. Stanley, 167 Ariz. 519, 809 P.2d 944,

cert, denied, 502 U.S. 1014, 112 S.Ct. 660, 116 L.Ed.2d 751 (1991).

 Defendant's actions satisfy some of the aforementioned elements,

by proof beyond a reasonable doubt.

     a.        A killing has been found to be especially depraved where
               the killer inflicts gratuitous violence on the victim
               beyond that necessary to kill.

     The       Arizona      Supreme       Court   described        this       aggravating

circumstance as follows.

               . . . . An especially heinous murder is
               one "that is 'hatefully or shockingly
               evil' " and a "murder is depraved if
               marked   b y debasement,    corruption,
               perversion or deterioration." State v.
               Cook, 170 Ariz. 40, 821 P.2d 731, cert.
               denied, 113 S.Ct. 137, 121 L.Ed.2d 90
               (1992).


     The       infliction     of   gratuitous      violence       has       been" held    to

constitute an especially depraved murder justifying imposition of

the death penalty.          In Gretzler, the court found this aggravating

circumstance when defendant shot a victim numerous times and then

beat the already unconscious or dead victim.                   Id., (citing State v.




                                      PSER 84
Case: 13-99001, 04/13/2017, ID: 10395709, DktEntry: 52, Page 87 of 100




                                           .Wm) ) .
Ceja, 126 Ariz. 33^40, 612 P.2d 491, 496 (imm)              The Gretzler

court remarked:
           We think that defendant's conduct in
           continuing his barrage of violence,
           inflicting wounds and abusing his
           victims, beyond the point necessary to
           fulfill his plan to steal, beyond even
           the point necessary to kill, Is such an
           additional circumstance of a . . . .
           depraved nature to set it apart from
           the 'usual or the norm'.


Id. quoting Ceja, 115 Ariz, at 417, 565 P.2d at 1278, aff'd, 126

Ariz. 35, 612 P.2d 491, cert, denied, 434 U.S. 975, 98 S.Ct. 533,

54   L.Ed.2d   467   (1977).   Other   Arizona   opinions   support   the

proposition that killing is especially depraved when the killer

inflicts gratuitous violence.      The Arizona Supreme Court has held:

"[c]ertainly, tying the victim up and pummeling his face until many

bones were broken and the victim's hard palate had become detached,

was gratuitous violence far beyond anything necessary to commit

burglary."     State v. West, 176 Ariz. 432 at 448, 862 P.2d 192 at

208, cert, denied, 114 S.Ct. 1635, 128 L.Ed.2d 358 (1993).            The

violence   in West    is similar    to the   ordeal   endured    by Trudy

Calabrese.     She too was tied up and restrained.          She too was

pummeled about the face (as depicted in photography and testimony

of Dr. Fischione detailing injuries to her eye, lip and head) . Her

frenulum was detached.    She was stabbed three times in the abdomen.

Two trash bags were placed over her head and were tied around her

neck and secured with ligatures including a cord and a necktie.

The West court found depravity.        This court should also.




                                PSER 85
Case: 13-99001, 04/13/2017, ID: 10395709, DktEntry: 52, Page 88 of 100




     As stated pr^Kously in this memorandum, ^^Rising
                                               ni£    used at least

three different weapons to inflict pain, torture and ultimately

death upon Trudy Calabrese.    He beat her with a club, he stabbed

her with a butcher knife and he placed plastic bags over her head

secured by ligatures. He also restrained her with electrical cords

and a vacuum sweeper power cord, rendering her totally and utterly

helpless.    There is ample evidence that he blindfolded her and

placed a gag in her mouth at some point during this awful attack.

     The violence perpetrated against her was far beyond what was

necessary to kill.   The beatings to her head and face, the multiple

stab wounds, the restraints, and the bags over        her head all

operated to cause profound pain and suffering over a significant

period of time.   The Defendant's actions were depraved as defined

by Arizona law.

     In Murray, the court noted that, " [g]ratuitous violence is

supported by the numerous gunshot wounds to the victim' s heads with

different weapons, displaying violence far beyond that necessary to

kill."    Murray, 184 Ariz. 9, 906 P.2d 542 (Ariz. 1995), citing

State v. Amaya-Ruiz, 166 Ariz. 152, 800 P.2d 1260 (1990).    In State

v. Gulbrandson, the defendant argued that the fact the victim

suffered multiple wounds did not establish a heinous or depraved

state of mind, but instead showed that the defendant was "out of

control". State v. Gulbrandson, 184 Ariz. 46, 906 P.2d 579 (Ariz.

1995) .   The court enumerated the many stabbing and blunt force

injuries that the victim suffered and concluded, "these facts prove

beyond    a reasonable doubt that defendant    inflicted   gratuitous



                                 20




                              PSER 86
Case: 13-99001, 04/13/2017, ID: 10395709, DktEntry: 52, Page 89 of 100




violence on the v^Rim, and this shows an especially heinous or

depraved state of mind." Id.

     Sansing        used    several    different weapons          to    inflict pain,

physical torture and ultimately death to his victim. He perpetrated

violence against Trudy far beyond that necessary to kill, and this

is   amply    supported        by     undisputed        facts.    This    aggravating

circumstance has been proved beyond a reasonable doubt.

     b.      A killing is especially heinous or depraved if the crime
             was senseless and the victim was helpless.

     The Gretzler court found that either, or both, of these

elements     when    considered       with      other   factors    may     lead    to a

conclusion    that a murder           was especially          heinous    or depraved.

Gretzler     135    Ariz,    at     53,   659    P.2d    at   11. While      the   mere

senselessness of a crime, or helplessness of a victim, standing

alone is not sufficient for finding that the crime is heinous or

depraved, taken together with the existence of other                     factors   they

can warrant a finding of heinousness or depravity.                     See also. State

v. Barreras, 181 Ariz. 516, 523, 892 P.2d 852 (1995); State v.

Scott, 177 Ariz. 131, 865 P.2d 792, cert, denied, 130 L.Ed.2d 73

(1993); State v. Milke, 177 Ariz. 118, 865 P.2d 779, cert, denied,

114 S.Ct. 2726, 129 L.Ed.2d 849 (1993); State v. Styers, 177 Ariz.-

104, 865 P.2d 765, cert, denied, 115 S.Ct. 159, 130 L.Ed.2d 97

(1994).      The facts herein clearly prove that Sansing's actions

were both senseless and his victim was particularly helpless.                        As

such, the presence of these elements, together with the presence of

other circumstances proves that Defendant's crimes fully satisfy

this aggravating circumstance.




                                      PSER 87
Case: 13-99001, 04/13/2017, ID: 10395709, DktEntry: 52, Page 90 of 100




     There is amp^^case law to support a fincWig that this murder

was especially heinous and depraved.        See   State v. Gallegos, 178

Ariz. 1, 870 P.2d 1097, cert, denied, 115 S.Ct. 330, 130 L.Ed.2d

289 (1994); State v. Milke, Id.; State v. West, Id. In State v.

Tison, the Court found the crime to be heinous and depraved,

stating:
           [T]he senselessness of the murders,
           given the inability of the victims to
           thwart the escape . . . . and the fact
           that a young child, less than two years
           old, who posed no threat to the
           captors, was indiscriminately shot
           while in the arms of his mother,
           compels the conclusion that the actual
           slayers possessed a shockingly evil
           state of mind.

State v. Tison, 129 Ariz. 526, 543, 633 P.2d 335, 352 (1981), cert.

denied, 459 U.S. 882 (1982).

     Because there is ample evidence of both the senselessness of

these murders and of the helplessness of Defendant's victim, each

element will be considered separately.       However, the two issues are

often integrally related, as they are in the instant case.          The

first factor considered is the senselessness of the murders,

           i. Defendant's crime was senseless:

     Especially   compelling    are cases that find a crime to be

particularly senseless where the defendant could have accomplished

an illegal act (for example, a sexual as.sault or theft) without

resorting to murder.   See     State v. Lopez, 175 Ariz. 407, 857 P.2d

1261; State v. Spencer, 176 Ariz. 36, 859 P.2d 146 (1993),         cert.

denied, 114 S.Ct. 705    (1994) .        One court noted, "a murder is

senseless when it is unnecessary to allow the defendant to complete

                                    22




                                PSER 88
Case: 13-99001, 04/13/2017, ID: 10395709, DktEntry: 52, Page 91 of 100




his objective."                                .^PL 799 P.2d 333,
                    3^Pte v. Comer, 165 Ariz. 413^)29,

349, cert, denied, 499 U.S. 943, 111 S.Ct. 1404, 113 L.Ed.2d 460

(1990) .   In a similar case the Arizona Supreme Court remarked:

"[t]he murder was also senseless.       Although the defendant clearly

intended to kill the victim, there was no reason to do so.         The

sexual assault could have been committed without the murder ..."

Lopez, 175 Ariz, at 421, 857 P.2d at 1266.

     In Spencer, the killer forced the victim to withdraw her funds

from an ATM machine and then murdered her.      Spencer, 17 6 Ariz, at

39, 859 P.2d at 149. After murdering her, he attempted to sell her

vehicle.     Id.   The court stated,

             The murder in this case was senseless
             in that, although carried out to aid
             Spencer's successful completion of the
             theft, it was unnecessary to accomplish
             it . . . Spencer had taken [the victim's]
             money and was in control of her car-and
             her-sometime before the murder. There
             was no reason to kill except to fulfill
             his depraved plot.
Id. at 43.

     That is precisely the case here.       It is important to recall

that Defendant's original motivation was to steal money.     Defendant

wasted little time restraining Trudy Calabrese and rendering her

totally helpless.      He could have effected his purpose of robbery

without resort to rape and torture, and without resort to murder.

Instead, he chose a course of continued beating, sexual assault,

stabbing and potential suffocation over the next hour.

Ignoring for the moment the vileness of Sansing's behavior, he

could have made the choice to rob, and • he could have made the

choice to rape, without resorting to murder.     The brutal slaying of

                                   23




                                PSER 89
Case: 13-99001, 04/13/2017, ID: 10395709, DktEntry: 52, Page 92 of 100




this Good Samari-Sr was totally unnecessary ^K             the defendant to

accomplish his goals. His crime was senseless and his conduct

satisfies another element establishing that he had a depraved state

of mind.

             ii. Defendant's victim was helpless:

     A victim's age and degree    of helplessness are elements 'courts

look to in determining whether a victim was helpless, thus adding

to the depraved nature of a crime.         See   State v. Gallegos. 178

Ariz. 1, 870 P.2d 1097; State v. West, 176 Ariz. 432, 862 P.2d 192.

When a victim has been shot and disabled and the defendant could

escape   without   shooting   him again    and   killing    him,   doing   so

constitutes aggravation.      State v. Ross, 180 Ariz. 598, 886 P.2d

1354 (1994) citing State v. Chanev, 141 Ariz. 295, 312-13, 686 P.2d

1265, 1282-83 (1984) .

     In State v. Lopez the court found helplessness was proved

when, in addition to the fact that the killer was much younger and

larger in stature than his victim, she had been gagged and was

unable to call for help.       Lopez, 175 Ariz, at 412, 857 P.2d at

1266. The Lopez court found that a victim is helpless when disabled

and unable to resist the murder.     Id.    Therefore, the circumstance

of helplessness is indisputably proved in the murder of Trudy

Calabrese.     She was "hogtied" with her arms and legs restrained

behind her with wires and cords throughout this ordeal, including

the time in which she was murdered.

     In State v. Gulbrandson,. 184 Ariz 46, 906 P.2d 579 (Ariz.

1995) the court found that evidence of the victim having been bound




                                PSER 90
Case: 13-99001, 04/13/2017, ID: 10395709, DktEntry: 52, Page 93 of 100




was noteworthy w M r considering the issue of^^elplessness.                 The

court     remarked,    "defendant     ultimately   rendered     [the   victim]

helpless by binding her . . . . . [ w ] e conclude that the trial court

properly    found     the victim's helplessness       was proven beyond a

reasonable doubt."       Id. at 57.

        Defendant    Sansing's   actions    satisfy   both    prongs   of   the

"senseless/helpless" element of heinous and depraved as described

by the Gretzler court.       As such, this aggravating circumstance has

certainly been proved beyond a reasonable doubt.               Especially so

when considering that this Good Samaritan was delivering food to

the Sansing children at the Defendant's request on a cold, rainy

February day.        Even more so when considering the totality of the

facts and circumstances surrounding her restraint, sexual assault,

beating and ultimate murder, and the proximity of Defendant's

children to this horrible crime. They too were subjected to the

senselessness of the Defendant's actions by watching and listening

to their father commit this horrific murder,

             c.     A killing is especially heinous or depraved if the
                    motivation for the killing was the elimination of a
                    witness.

        In State v: Milke, the court held that in addition to the five

Gretzler factors, killing toeliminate a witness may be' considered

as evidence of depravity.        State v. Milke, 177 Ariz. 118, 865 P.2d

779, cert, denied, 114 S.Ct. 2726, 129 L.Ed.2d 849 (1993).              Courts

have found that a killing motivated by the killer's desire to

eliminate a witness who observed, or was aware of, another crime is

aggravation.        See - State v. Greenway, 170 Ariz. 155, 823 P.2d 22


                                       25




                                    PSER 91
Case: 13-99001, 04/13/2017, ID: 10395709, DktEntry: 52, Page 94 of 100




(1991); State v.^gtanlev, 167 Ariz. 519,      ^B
                                               TO   P.2d 944, cert-

denied, 502 U.S. 1014, 112 S.Ct. 660, 116 L.Ed.2d 751 (1991).   The

Greenway court noted, "[t]o end a person's life just so that

individual cannot testify against a defendant shows an utter and

'complete lack of understanding of the value of human life' ".

Greenway, 170 Ariz, at 167, 823 P.2d at 34.

      However, State v. Barreras questioned the finding of senseless

and   the finding that the murder was committed to eliminate a

witness, suggesting that the two elements are mutually exclusive.

The Barreras court narrowed the types of-cases justifying a finding

of witness elimination.    State v. Barreras, 181 Ariz', at 522-23,

892 P.2d at 858-59 (1995). The court articulated a three pronged

test to determine whether the witness elimination factor applies.

Id.     According to the Barreras court, the witness elimination

factor applies if: (1) the victim witnessed another crime and was

killed to prevent testimony about that crime; (2) a statement by

the defendant or other evidence of his state of mind shows witness

elimination was a motive; or (3) some extraordinary circumstances

show the murder was motivated by a desire to eliminate witnesses.

Id.

      Defendant fully satisfies the second element enumerated by the

Barreras court.    The Barreras test is satisfied if the Defendant

evinces a state of mind indicating a desire to eliminate a witness.

The testimony of Kara Sansing proves beyond a reasonable doubt that

once the Defendant made the decision to rob and restrain Trudy

Calabrese, he felt he had no choice other than to kill her.


                                  26




                             PSER 92
Case: 13-99001, 04/13/2017, ID: 10395709, DktEntry: 52, Page 95 of 100




     InstructionaSWon this issue are severa^^f the Defendant's

actions and, of course, his comments to Kara.     Shortly after he

restrained Trudy Calabrese, he moved her truck so that no one would

be able to find the house she visited.   Shortly after he sexually

assaulted the victim, the Defendant told Kara Sansing that he had

to rape her so that it would look like a robbery/rape case.

     The Defendant's statements to his wife while he was sexually

assaulting the victim prove that he planned at that point to

eliminate Trudy as a witness. He told Kara that it must be made to

look like a robbery, beating and rape.   After Trudy had expired,

the Defendant drug her body into the rear and hid her behind a shed

and covered her with various items to prevent her body from being

found.

     The Defendant's words and actions prove, the heinousness and

depravity that establish this aggravating circumstance beyond a

reasonable doubt.

     B.   The murder of Trudy Calabrese was committed in
          expectation of the receipt of items of pecuniary value,
          as per A.R.S. § 13-703 (F) (5) .

     The "pecuniary gain" aggravating circumstance is not limited

to the "hired gun" or "contract" killing, rather it involves any

murder committed for "financial motivation".    State v. Gretzler.

135 Ariz. 42, 49, 659 P.2d 1, 8, cert, denied, 461 U.S. 971, 103

S.Ct. 2444, 77 L.Ed.2d 1327, reh'g denied,     463 U.S. 1236, 104

S.Ct. 32, 77 L.Ed.2d 1454 (1983), citing State v. Clark 126 Ariz.

428, 436, 616 P.2d 888, 896, cert, denied 449 U.S. 1067, 101 S.Ct.

796, 66 L. Ed.2d 612, (1980) .




                             PSER 93
Case: 13-99001, 04/13/2017, ID: 10395709, DktEntry: 52, Page 96 of 100




     In State v. ^ P a r s , the court held that p^Rniary gain may not

be found in every case in which "a person has been killed and at

the same time defendant has made a financial gain." State v.

Spears,184 Ariz. 277, 292, 908 P.2d 1062, 1077 (Ariz. 1996) citing

State v. Correll, 148 Ariz. 468, 479, 715 P.2d 721, 732 (1986).

The Spears court noted, "[t]he (F)(5) aggravating factor applies

only when pecuniary gain is a motive, cause, or impetus for the

murder and not merely the result of the murder" .       Spears at 30

citing State v. Spencer, 176 Ariz. 36, 43, 859 P.2d 146, 153

(1993), cert, denied, 114 S.Ct. 705 (1994).

     In State v. West, 176 Ariz. 432, 862 P.2d 192, cert, denied,

114 S.Ct. 1635, 128 L.Ed.2d 358 (1993) the defendant burglarized

his victim's home in order to take various items of electronic

equipment, then killed the victim.   The court found that these acts

were sufficient to satisfy the requirements of this aggravating

circumstance.    Id.

     In State v. Scott, 177 Ariz. 131, 865 P.2d 792, cert, denied,

130 L.Ed.2d 73 (1993) defendant was offered $250 to drive a vehicle

involved in a murder plan and the court found that this act alone

was adequate to show that the defendant committed the offense in

expectation of pecuniary gain.

     The Gretzler court found the existence of this aggravating

circumstance when the defendant acted as follows: "after killing

the Sandbergs, the defendant took their credit cards, blank checks,

an expensive camera, and their automobile.       These circumstances

likewise reflect a financial motivation." Id. at 50, 9. State v.




                              PSER 94
Case: 13-99001, 04/13/2017, ID: 10395709, DktEntry: 52, Page 97 of 100




Ross, 180 Ariz. SW!                              >w
                       605, 886 P.2d 1354 (1994^T (quoting State v.

Fierro, 166 Ariz. 539, 551, 804 P.2d 72, 84 (1990)), held "when the

defendant kills to facilitate his escape and to permit him to take

and keep stolen items, he furthers his pecuniary gain motive." The

Greenway court found, "the killing and robbery need not occur

simultaneously but the purpose of the killing must be to further

the   defendant's   motive   of   pecuniary   gain   from   the   robbery."

Greenway, 170 Ariz. 155, 164, 823 P.2d 22, 31 quoting State v.

Walton, 159 Ariz. 571, 588, 769 P.2d 1017, 1034, cert, granted, 493

U.S. 808, 110 S.Ct. 49, 107 L.Ed.2d 18, 493 U.S. 990, 110 S.Ct.

536, 107 L.Ed.2d 534, 493 U.S. 1000, 110 S.Ct. 559, 107 L.Ed.2d

554, aff'd, 497 U.S. 639, 110 S.Ct. 3147, 111 L.Ed.2d 511, reh'.,g

denied, 497 U.S. 1050, 111 S.Ct. 14, 111 L.Ed.2d 828 (1989).             In

addition, the Greenway court noted, "even if           we infer that the

murders were to eliminate, witnesses to the aggravated assault, this

does not preclude the inference that the murders were for pecuniary

gain."   Id.•

      The   circumstances of State v. Murray, 184 Ariz. 9, 906.P.2d

542 (Ariz. 1995) are instructive to the case at bar.              There, the

court found the following facts dispositive when considering this

aggravating circumstance:

            [a]t trial the evidence showed that the
            defendants invaded the cafe and home
            where [the victims] resided and worked.
            They ransacked the, buildings and took
            a number of items including cash. When
            they were stopped several hours later
            by DPS officers, the property was found
            in the defendant's vehicle.         The
            murders were committed in the course of


                                     29




                                  PSER 95
Case: 13-99001, 04/13/2017, ID: 10395709, DktEntry: 52, Page 98 of 100




                      rtherance of the robbery wRl
             flight from the robbery.

Id. at 15.

     Defendant John Sansing planned to rob Trudy Calabrese and he

explained his plan to his wife before Trudy arrived at their house.

The children were present and all heard their father's plan to rob

the "church lady,"    Defendant told them that pecuniary gain was his

original motivation.     In fact, one of the Sansing children told

police his father said he did it for a dollar and a half.

     Further evidence of the Defendant's motivation for pecuniary

gain is found in removing jewelry from the body of Trudy Calabrese

on two occasions shortly      after   she died.   On each occasion,

Defendant swapped the victim's jewelry for crack cocaine.

     The testimony of Kara Sansing and the statements of the

Sansing children (received in evidence by stipulation) show beyond

reasonable doubt that the Defendant planned to rob the victim.    He

tied her up and restrained her in furtherance of that plan.       He

took a small amount of money from her.      He also removed jewelry

from her body after he had beaten her, sexually assaulted her,

stabbed her and murdered, her.

     Thus, it is evident that he was motivated, at least in part,

by the expectation of something of pecuniary value, and a desire

for pecuniary gain.    Pecuniary gain was a motive, cause or impetus

for his crimes, and not merely the result of the murders.         See

State v. Spears,184 Ariz. 277, 908 P.2d 1062 (Ariz. 1996).       This

aggravating circumstance has been proved beyond a reasonable doubt.




                              PSER 96
Case: 13-99001, 04/13/2017, ID: 10395709, DktEntry: 52, Page 99 of 100




     C.    The DeMRdant was previously con^Kted of a serious
           offense, whether preparatory or completed. A.R.S. 13-
           703 m (2) .

     The Defendant pled guilty to kidnaping, sexual assault and

armed robbery.     Each of these convictions are "serious offenses" as

defined by Arizona law.     See A.R.S. §13-703 (H) (5) , (8) and (10).

     The   State    submits- that   the    Defendant's   convictions   for

kidnaping, armed robbery and sexual assault should operate as

aggravation pursuant to A.R.S. §13-703(F)(2).            In Gretzler. the

Court explained the State's philosophy as follows:

           We have held that our death penalty
           statute ' is not a recidivist or
           enhancement statute, the purpose of
           which. is to serve as a warning to
           convicted criminals and encourage their
           reformation. Rather, "[W]e have stated
           that     the       'purpose      of     an
           aggravation/mitigation hearing is to
           determine      the      character      and
           propensities of the defendant. . .'"***
           Convictions    entered     prior    to   a
           sentencing    hearing     may   thus    be
           considered regardless of the order in
           which the underlying crimes occurred or
           the order in which the convictions were
           entered. 135 Ariz. 42, 57 n.2, 659 P.2d
           1, 16 n.2 (1983)(Citations omitted).

     In State v. Lee, the Court expanded upon the Gretzler holding

as follows:

           "This court's holding in Gretzler
           applies to prior convictions as well as
           simultaneous    convictions,   id.    A
           sentencing court may consider any
           convictions entered previously without
           regard to the order of the underlying
           crimes." 189 Ariz. 590, 604, 944 P.2d
           1204, 1218 (1997) .

     Therefore, this aggravating          circumstance   has   been proved

beyond a reasonable doubt.

                                    31




                                PSER 97
Case: 13-99001, 04/13/2017, ID: 10395709, DktEntry: 52, Page 100 of 100




      III. CONCLUSHi:

      Defendant John Sansing committed a murder the likes of which

the people of Arizona will not soon forget.             He shocked the

conscience of the community with a despicable and horrific murder

of a Good Samaritan who was attempting to render aid to his own

children.   He forced her to endure extreme physical and mental

anguish over the nearly one hour it took to restrain her, kidnap

her, beat her mercilessly, sexually assault her, stab her and apply

bags and ligatures to her head and neck.

      The Defendant's actions satisfy three aggravating        factors

contained in A.R.S. §13-703 (F). No mitigation is sufficient to

call for leniency in this case. The people of the State of Arizona

demand, and the evidence supports, the imposition of death as a

result of the Defendant's action.
                          ^re-
      submitted September *    , 1999
                          RICHARD M. ROMLEY
                          MARICOPA COUNTY ATTORNEY



                              William K. Culbertson
                              Deputy County Attorney



                              Vince Imbordino
                              •Deputy County Attorney




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                               PSER 98
